Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 1 of 90 PageID #: 27




                       EXHIBIT B
Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 2 of 90 PageID #: 28




                                 This Opinion is a
                               Precedent of the TTAB

Oral Hearing: June 26, 2018                             Mailed: December 2, 2019


             UNITED STATES PATENT AND TRADEMARK OFFICE
                                _____

                         Trademark Trial and Appeal Board
                                      _____

                            Milwaukee Electric Tool Corp.
                                         v.
                                Freud America, Inc.
                                       _____

                      Cancellation Nos. 92059634 and 92059637 1

                                        _____

Laura M. Konkel of Michael Best & Friedrich LLP,
  for Milwaukee Electric Tool Corp.

Jessica A. Ekhoff of Pattishall, McAuliffe, Newbury, Hilliard & Geraldson, LLP,
   for Freud America, Inc.
                                        _____

Before Lykos, Shaw, and Pologeorgis,
   Administrative Trademark Judges.

Opinion by Shaw, Administrative Trademark Judge:

    Milwaukee Electric Tool (“Milwaukee”) has petitioned to cancel two registrations

owned by Freud America (“Freud”) for marks consisting of the color red as applied to

substantially the entire surface of cutting tools. Registration No. 2464769 consists of

the following mark:


1All TTABVUE references are to the record in Proceeding No. 92059634. The cancellations
were consolidated by order of the Board on April 7, 2015. 10 TTABVUE.
    Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 3 of 90 PageID #: 29

Cancellation Nos. 92059634 and 92059637




   for goods identified as “cutting tools for power woodworking machines, namely,

   shaper cutters, saw blades, router bits and forestner [sic] bits,” in International Class

   7. 2 The drawing is lined for the color red, and the description of the mark reads: “The

   mark consists of the color red as applied to the entire surface of the goods except the

   cutting edge and annular hub or shaft.”

         Registration No. 4028314 consists of the following mark:




   for goods identified as “blades for reciprocating power saws,” in International Class

   7. 3 The color red is claimed as a feature of the mark, and the description of the mark

   reads: “The mark consists of the color red as applied to substantially the entire

   surface of the goods. The dotted lines are intended to show the position of the mark

   on the goods and are not part of the mark as shown.”



   2Issued July 3, 2001; Section 15 declaration filed; renewed. A Forstner drill bit is a “spurless
   wood-drilling bit used especially for drilling blind holes.” Merriam-Webster Dictionary,
   https://www.merriam-webster.com/dictionary/Forstner/bit. The Board may take judicial
   notice of dictionary definitions, including online dictionaries that exist in printed format or
   have regular fixed editions. See In re Cordua Rests. LP, 110 USPQ2d 1227, 1229 n.4 (TTAB
   2014) aff’d 823 F.3d 594, 118 USPQ2d 1632 (Fed. Cir. 2016); In re Red Bull GmbH, 78
   USPQ2d 1375, 1378 (TTAB 2006) (Board may take judicial notice of widely-known reference
   readily available in specifically denoted editions via the Internet although not available in
   print); see also Univ. of Notre Dame du Lac v. J. C. Gourmet Food Imps. Co., Inc., 213 USPQ
   594 (TTAB 1982), aff’d, 703 F.2d 1372, 217 USPQ 505 (Fed. Cir. 1983).
   3   Issued September 20, 2011; Section 8 affidavit filed and accepted.


                                                 -2-
    Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 4 of 90 PageID #: 30

Cancellation Nos. 92059634 and 92059637

         Both marks registered under Section 2(f) of the Trademark Act, 15 U.S.C.

   § 1052(f), with a showing of acquired distinctiveness. Registration No. 2464769 is

   more than five years old but may be cancelled if the mark is generic. 15 U.S.C. § 1064.

         Milwaukee seeks partial cancellation of Registration No. 2464769 for “saw blades”

   and Registration No. 4028314 in its entirety on the ground that the color red is

   generic with respect to saw blades, and in the alternative, with respect to Registration

   No. 4028314 only, that the color red has not acquired distinctiveness. Milwaukee also

   seeks cancellation of Registration No. 2464769 in its entirety on the ground it was

   procured by fraud. Freud, in its Answers, denied the salient allegations of the

   petitions. Both parties filed briefs and Milwaukee filed a reply brief.

                                        I. The Record 4

         The record consists of the pleadings and by operation of Trademark Rule 2.122,

   37 C.F.R. § 2.122, the files of the involved registrations. The parties stipulated to and

   otherwise submitted the following evidence: 5

                                     DECLARATIONS
                   Evidence                  Abbreviation                Public TTABVUE
       Testimony Declaration of Laura    First Konkel Decl.             83-86 TTABVUE
       Konkel
       Second Testimony Declaration of         Second Konkel Decl.      88 TTABVUE
       Laura Konkel
       Third Testimony Declaration of          Third Konkel Decl.       94 TTABVUE
       Laura Konkel
       Fourth Testimony Declaration of         Fourth Konkel Decl.      142 TTABVUE
       Laura Konkel



   4   Evidence designated as confidential has only been discussed in general terms.
   5156 TTABVUE. For convenience, we have attempted to use the names and abbreviations of
   the evidence provided by the parties, as shown.


                                                -3-
    Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 5 of 90 PageID #: 31

Cancellation Nos. 92059634 and 92059637


                  Evidence                    Abbreviation         Public TTABVUE
    Testimony Declaration of Scott        First Griswold Trial    103-06 TTABVUE
    Griswold                              Decl.
    Second Testimony Declaration of       Second Griswold         147 TTABVUE
    Scott Griswold                        Trial Decl.
    Trial Declaration of Russell Kohl     Kohl Trial Decl.        110-19 TTABVUE
    Trial Declaration of James Brewer     Brewer Trial Decl.      120 TTABVUE
    Trial Declaration of Jaime            Valtierra Trial Decl.   121 TTABVUE
    Valtierra
    Trial Affidavit of Sebastian          Ruggiero Trial Decl.    122 TTABVUE
    Ruggiero

                                NOTICES OF RELIANCE
                  Evidence                 Abbreviation            Public TTABVUE
    Petitioner’s Notice of Reliance    First MT NOR               95-97 TTABVUE
    Petitioner’s Second Notice of      Second MT NOR              155 and 144-46
    Reliance                                                      TTABVUE
    Registrant’s Notice of Reliance    Freud NOR                  123-130 TTABVUE

                                STIPULATED EVIDENCE
                  Evidence                  Abbreviation           Public TTABVUE
    Exhibit A to the Declaration of     Griswold SJ Decl.         70 TTABVUE 185 to
    Scott Griswold in support of                                  71 TTABVUE 147
    Milwaukee Tool’s Response in
    Opposition to Freud’s Motion for
    Summary Judgment
    Exhibits 5-9, 14-21, 23-41, 54 and  Meddings SJ Decl.         69 TTABVUE 26 to
    60 to the Declaration of Lori                                 70 TTABVUE 184
    Meddings in support of Milwaukee
    Tool’s Response in Opposition to
    Freud’s Motion for Summary
    Judgment
    Exhibits 1-18 to the Declaration of Brewer SJ Decl.           149 TTABVUE 4-
    James Brewer in Support of Freud’s                            167
    Motion for Summary Judgment
    Updated version of Exhibit 15 to    Brewer SJ Decl.           130 TTABVUE 27-
    the Declaration of James Brewer in Updated Ex. 15             28
    Support of Freud’s Motion for
    Summary Judgment
    Updated version of Exhibit 16 to    Brewer SJ Decl.           120 TTABVUE 17-
    the Declaration of James Brewer in Updated Ex. 16             18
    Support of Freud’s Motion for
    Summary Judgment



                                           -4-
    Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 6 of 90 PageID #: 32

Cancellation Nos. 92059634 and 92059637


                     Evidence                     Abbreviation        Public TTABVUE
       Exhibits 1-4 and 10 to the             Chaloemtiarana SJ      150 TTABVUE 4-
       Declaration of Thad                    Decl.                  115
       Chaloemtiarana in Support of
       Freud’s Motion for Summary
       Judgment
       All exhibits to the Declaration of     First Valtierra SJ     151 TTABVUE 4-
       Jaime Valtierra in Support of          Decl.                  1711
       Freud’s Motion for Summary
       Judgment
       Exhibit 1 to the Supplemental          Second Valtierra SJ    77 TTABVUE 17-27
       Declaration of Jaime Valtierra in      Decl.
       Support of Freud’s Motion for
       Summary Judgment
       All exhibits to the Declaration of     Kohl SJ Decl.          152 TTABVUE 4-17
       Russell Kohl in Support of Freud’s
       Motion for Summary Judgment
       First
       All exhibits to the Supplemental       Second Kohl SJ Decl.   77 TTABVUE 175 to
       Declaration of Russell Kohl in                                78 TTABVUE 253
       Support of Freud’s Motion for
       Summary Judgment

                             DEPOSITION TRANSCRIPTS
                    Evidence               Abbreviation               Public TTABVUE
       Deposition-Cross Examination of Griswold Trial Dep.           136 TTABVUE
       Scott Griswold

                               II. Evidentiary Objections

         Freud objects to consideration of much of Milwaukee’s testimony and exhibits on

   the grounds of, among others, relevancy, hearsay, and lack of foundation. 6 Milwaukee

   objects to consideration of James Brewer’s trial testimony declaration on the ground

   that he lacks credibility. 7 We address the parties’ objections as follows.




   6   Freud’s Br., Appendix 1, pp. 1-36, 163 TTABVUE 59-94.
   7   Milwaukee’s Br., p. 55, 158 TTABVUE 56-58.


                                               -5-
    Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 7 of 90 PageID #: 33

Cancellation Nos. 92059634 and 92059637


         A. Freud’s objection to hole saw evidence

         Freud objects to Milwaukee’s evidence regarding hole saws as “irrelevant, unfairly

   prejudicial and misleading.” Freud argues that “[h]ole saws are not ‘saw blades’—

   they are drill bits used in connection with power drills and drill presses. Hole saws

   are inserted into a drill or drill press, and spin in the same manner as a drill bit.” 8

   We disagree that “hole saws” are not “saw blades.” The term “blade” is broadly defined

   as “the cutting part of an implement” 9 and is not limited to flat blades, as Freud’s

   argument suggests. On the contrary, the evidence of record shows use of the term

   “hole saw blade” to refer to hole saws. For example, Home Depot sells a “Hole Saw

   Blade Set,” Harbor Freight uses the term “Hole Saw Blade” to describe a hole saw,

   and two patents claim a design for a “hole saw blade.” 10 In addition, Freud makes red

   hole saws, which are referred to as “hole saw blades” by one retailer, McFeely’s, and

   a YouTube video. 11

         Saw blades come in many shapes and sizes, e.g., for circular saws, jigsaws,

   reciprocating saws, band saws, etc. Thus, the fact that a hole saw blade may be

   cylindrical does not remove it from the family of saws. Rather, it is merely one of a

   variety of saw shapes and designs used with power woodworking tools. Given that

   hole saws are used with drills or drill presses and perform in much the same way as

   Freud’s Forstner drill bits, we see no reason why they would not be considered closely



   8   Freud’s Br., Appendix 1, p. 6, 163 TTABVUE 64.
   9   Merriam-Webster Dictionary, https://www.merriam-webster.com/dictionary/blade.
   10   Second MT NOR, 145 TTABVUE 181-97, 201.
   11   Id., 145 TTABVUE 205-13.


                                               -6-
    Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 8 of 90 PageID #: 34

Cancellation Nos. 92059634 and 92059637

   related to, if not encompassed by, Freud’s “cutting tools for power woodworking

   machines, namely . . . saw blades.” The objection is overruled.

         B. Freud’s objections to jigsaw blades, sabre saw 12 blades, and non-wood
            cutting blades

         Freud further objects to Milwaukee’s evidence regarding jigsaw blades, sabre saw

   blades, and non-wood-cutting saw blades on the ground that these blades differ from

   the saw blades identified in Freud’s registrations, making the evidence “irrelevant,

   unfairly prejudicial and misleading.” 13

         The record shows that consumers are faced with an array of power tool saw blades,

   from which they must choose the one appropriate for their needs. Some blades are

   general-purpose blades for cutting a variety of materials whereas other blades are

   more specialized for cutting only wood, metal, or concrete. Nevertheless, as discussed

   below, most of these saw blades travel in the same channels of trade and are

   purchased by the same consumers; therefore, the entire universe of saw blades is

   relevant for determining consumer perception regarding Freud’s marks. That is, the

   range of available saw blade types affects consumer perception, even if a particular

   saw blade is not an exact match for a particular tool or a consumer’s intended use.

   See In re Gen. Mills IP Holdings II, LLC, 124 USPQ2d 1016, 1024 (TTAB 2017)

   (“[T]he presence in the market of yellow-packaged cereals from various sources even

   cereals that are not made of oats or are not toroidal in shape would tend to detract



   12Also known as a saber saw: “A portable power jigsaw used to cut straight or curved lines
   in wood, plastic, or soft metals.” The American Heritage Dictionary of the English Language,
   https://ahdictionary.com.
   13   Freud’s Br., Appendix 1, pp. 9-15, 163 TTABVUE 67-73.


                                               -7-
    Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 9 of 90 PageID #: 35

Cancellation Nos. 92059634 and 92059637

   from any public perception of the predominantly yellow background as a source-

   indicator pointing solely to Applicant.”); Saint-Gobain Corp. v. 3M Co., 90 USPQ2d

   1425, 1441 (TTAB 2007) (“Use of the same or similar marks on related goods is

   relevant    in   determining      whether      applicant’s    [color]   mark     has    acquired

   distinctiveness.”).

        Regarding Freud’s objection to consideration of jigsaw blades in particular, a

   “jigsaw” is broadly defined as a “machine saw with a fine blade enabling it to cut

   curved lines in a sheet of wood, metal, or plastic.” 14 Jigsaws clearly are “power

   woodworking machines” as described in Freud’s identification of goods in the ’769

   registration, therefore, jigsaw blades are functionally related to the saw blades

   identified in Freud’s goods and thus are relevant to the genericness analysis. Id.

        Regarding Freud’s objection to metal-cutting saw blades, Freud itself sells red

   metal-cutting saw blades for use with the same woodworking power tools as its wood-

   cutting saw blades. 15 We thus find evidence regarding Freud’s competitors’ non-wood-

   cutting blades to be relevant to the genericness analysis, and not, as Freud argues,

   “irrelevant, unfairly prejudicial and misleading.”

        In sum, we find the objected-to evidence is admissible. The objections are

   overruled and we have given the evidence whatever probative value it deserves.



   14 Oxford Dictionaries, https://en.oxforddictionaries.com/definition/jigsaw. The Board may
   take judicial notice of dictionary definitions, including online dictionaries that exist in printed
   format or regular fixed editions. Univ. of Notre Dame du Lac v. J.C. Gourmet Food Imps. Co.,
   213 USPQ 594 (TTAB 1982), aff’d, 703 F.2d 1372, 217 USPQ 505 (Fed. Cir. 1983); In re Red
   Bull GmbH, 78 USPQ2d 1375, 1377 (TTAB 2006).
   15Kohl Trial Decl., Ex. 142, 2003 Fall/Winter Woodworker’s Supply catalog, p. 27, 119
   TTABVUE 21.


                                                  -8-
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 10 of 90 PageID #: 36

Cancellation Nos. 92059634 and 92059637


      C. Freud’s and Milwaukee’s remaining objections

      Many of the remaining objections go to the weight, rather than the admissibility,

   of the evidence. Given the nature of the objections, coupled with their number, we see

   no compelling reason to discuss each objection. In assessing the remaining objections,

   we employ the same standards the Board has noted before:

                [W]e simply accord the evidence whatever probative value
                it deserves, if any at all. . . . Ultimately, the Board is
                capable of weighing the relevance and strength or
                weakness of the objected-to testimony and evidence in this
                specific case, including any inherent limitations, and this
                precludes the need to strike the testimony and evidence.

   Hunt Control Sys. Inc. v. Koninklijke Philips Elec. N.V., 98 USPQ2d 1558, 1564

   (TTAB 2011), rev’d on other grounds, Civ. No. 11-3684, 2017 WL 3719468 (D.N.J.

   Aug. 29, 2017). As necessary and appropriate, we will point out any limitations of the

   evidence or otherwise note that the evidence cannot be relied upon in the manner

   sought. Moreover, the Board considers website and Internet printouts and other

   materials introduced under a notice of reliance without supporting testimony only for

   what they show on their face rather than the truth of the matters asserted therein.

   See Safer, Inc. v. OMS Invs., Inc., 94 USPQ2d 1031, 1039 (TTAB 2010). We have

   considered all of the testimony and evidence introduced into the record. In doing so,

   we have kept in mind the various objections raised by the parties and we have

   accorded whatever probative value the subject testimony and evidence merit.

                                    III. Standing

      Standing is a threshold issue that must be proven by the plaintiff in every inter

   partes case. See Empresa Cubana Del Tabaco v. Gen. Cigar Co., 753 F.3d 1270, 111



                                            -9-
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 11 of 90 PageID #: 37

Cancellation Nos. 92059634 and 92059637

   USPQ2d 1058, 1062 (Fed. Cir. 2014); see also, e.g., Bell’s Brewery, Inc. v. Innovation

   Brewing, 125 USPQ2d 1340, 1344 (TTAB 2017). Any person who believes it is or will

   be damaged by a registration of a mark has standing to file a petition to cancel.

   Trademark Act Section 14, 15 U.S.C. § 1064.

         The Court of Appeals for the Federal Circuit has enunciated a liberal threshold

   for determining standing. “A petitioner is authorized by statute to seek cancellation

   of a mark where it has both a real interest in the proceedings as well as a reasonable

   basis for its belief of damage.” Empresa Cubana, 111 USPQ2d at 1062 (quotations

   omitted). A “real interest” is a “direct and personal stake” in the outcome of the

   proceeding. Ritchie v. Simpson, 170 F.3d 1092, 50 USPQ2d 1023, 1026 (Fed. Cir.

   1999).

         When challenging a mark as descriptive or generic, a plaintiff may establish

   standing by showing that it is engaged in the manufacture or sale of goods the same

   as or related to those covered by the challenged mark. See Eastman Kodak Co. v. Bell

   & Howell Document Mgmt. Prods. Co., 23 USPQ2d 1878, 1879 (TTAB 1992), aff’d,

   994 F.2d 1569, 26 USPQ2d 1912 (Fed. Cir. 1993).

         Milwaukee is a manufacturer of power tools and related accessories, including saw

   blades. 16 Milwaukee has shown that since at least 1956 it has used the color red for

   its power tools and accessories, including saw blades, as well as on packaging and

   advertising for these goods. 17 We therefore find that Milwaukee has standing to seek



   16   First Griswold Trial Decl. ¶¶ 4-6, 103 TTABVUE 3.
   17   Id. at Exs. 4-44, 103 TTABVUE 29-271; Exs. 1-3, 107 TTABVUE 23-50.


                                               - 10 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 12 of 90 PageID #: 38

Cancellation Nos. 92059634 and 92059637

   cancellation of Freud’s registrations because it competes with Freud in the power saw

   blade business, uses the color red on its products, and has a reasonable basis for a

   belief that it would be damaged by the continued registration of Freud’s marks. See

   Empresa Cubana, 111 USPQ2d at 1062.

                         IV. Freud’s Underlying Applications

         A. Application Serial No. 75150972

         Freud filed the application underlying the ’769 registration on August 6, 1996,

   based on use in commerce under Section 1(a), 15 U.S.C. § 1051(a), and claiming a

   date of first use anywhere and in commerce of February 28, 1988. Freud has since

   admitted that it did not use the color red on all of the goods as of the date of first use

   alleged in the application, although the mark was in use on all of the goods prior to

   the filing date of the application. In fact, Freud claims it first used the color red as a

   mark on shaper cutters on February 28, 1988, on router bits on July 12, 1991, on

   Forstner bits on January 13, 1992, and on saw blades on July 31, 1996, i.e., only six

   days before the application was filed. 18

         Registration was refused on the grounds that the applied-for mark was functional

   and not inherently distinctive, under Trademark Act Sections 1, 2 and 45, 15 U.S.C.

   §§ 1051, 1052 and 1127. The Examining Attorney further requested, under 37 C.F.R.

   § 2.61(b), that Freud provide information about the color red, stating:

                   The applicant’s response must also address the use of color
                   in the relevant industry. The applicant must advise the
                   examining attorney of any other use of color by the
                   applicant. The applicant must also indicate whether


   18   Brewer Trial Decl., ¶ 4, 120 TTABVUE 3.


                                               - 11 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 13 of 90 PageID #: 39

Cancellation Nos. 92059634 and 92059637

                    competitors produce the goods in the identified color and in
                    colors other than the identified color. The applicant must
                    provide color photographs and color advertisements
                    showing competitive goods. 19

         Freud overcame the refusals by explaining that the color red was not functional,

   and by providing a showing of acquired distinctiveness under Section 2(f), 15 U.S.C.

   § 1052(f), based on: a declaration claiming ten years of use, four years of advertising

   expenses, and four years of sales figures. 20 In response to the Examining Attorney’s

   information request regarding the use of color by Freud and its competitors, Freud

   provided advertisements for its red products and for several colored tool and

   accessory products, including blue shaper cutters, an orange and yellow sander, a

   white router bit, a yellow De Walt jigsaw, orange router bits, a blue Ryobi drill press,

   and a red SystiMatic circular saw blade. 21 Freud also claimed ownership of two

   registrations on the Supplemental Register for the color red used on shaper cutters

   and router bits. 22 The arguments and amendments were accepted and the application

   was approved for publication and registered.

         B. Application Serial No. 85236666

         Freud filed the application underlying the ’314 registration on February 8, 2011,

   based on use in commerce under Section 1(a), 15 U.S.C. § 1051(a), and claiming a

   date of first use anywhere and in commerce of August 3, 2009. Registration was




   19   Serial No. 75150972, Office Action dated August 22, 1997, p. 34.
   20   Serial No. 75150972, Response to Office Action dated February 27, 1998, pp. 8-22.
   21   Id. at 23-31.
   22   Id.; Reg. Nos. 1973556 and 1973557.


                                                 - 12 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 14 of 90 PageID #: 40

Cancellation Nos. 92059634 and 92059637

   refused on the ground that the applied-for mark was not inherently distinctive under

   Trademark Act Sections 1, 2 and 45. 23 The Examining Attorney recommended

   registration on the Supplemental Register and requested information under 37

   C.F.R. § 2.61(b) requiring, among other things, “[a]n explanation as to the use of the

   identified color(s) in applicant’s industry and any other similar use of color in

   applicant’s industry” and “[a]n explanation as to whether competitors produce the

   goods in the identified color(s) and in color(s) other than the identified color(s).” 24

         Responding to the refusal to register, Freud claimed the applied-for mark had

   acquired distinctiveness based solely on ownership of its other color marks,

   Registration Nos. 1973556, 1973557, and 2464769. 25 We note that reliance on

   Registration Nos. 1973556 and 1973557 was improper inasmuch as these

   registrations are on the Supplemental Register and cannot support a claim of

   acquired       distinctiveness.   Trademark      Rule    2.41(a)(1)   requires   registrations

   supporting a claim of acquired distinctiveness to be on the Principal Register:

                    In appropriate cases, ownership of one or more active prior
                    registrations on the Principal Register or under the
                    Trademark Act of 1905 of the same mark may be accepted
                    as prima facie evidence of distinctiveness if the goods or
                    services are sufficiently similar to the goods or services in
                    the application; however, further evidence may be
                    required.

   37 C.F.R. § 2.41(a)(1). The ’769 registration, however, is on the Principal Register and

   was a proper basis to support a Section 2(f) claim.


   23   Serial No. 85236666, Office Action dated April 11, 2011, p. 1.
   24   Id.
   25   Serial No. 85236666, Response to Office Action dated May 19, 2011, p. 1.


                                                 - 13 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 15 of 90 PageID #: 41

Cancellation Nos. 92059634 and 92059637

         Responding to the information request regarding the use of color in the industry,

   Freud simply stated: “To the Applicant’s knowledge, information and belief, it is the

   only member of the woodworking industry that produces saw blades, router bits, and

   like woodworking tools bearing the color red.” 26

         The claim of acquired distinctiveness and the above explanation were accepted

   and the application was approved for publication and registered. No evidence

   regarding third-party use of color for saw blades was made of record by the Examining

   Attorney or Freud.

                                     V. Genericness

         A. Applicable law for determining genericness of a color mark

         Milwaukee seeks cancellation of Freud’s registrations in part or in whole on the

   ground that the color red is generic when used on the identified goods. “[A] registered

   mark may be canceled at any time on the grounds that it has become generic.” Park

   ’N Fly, Inc. v. Dollar Park and Fly, Inc., 469 U.S. 189, 224 USPQ 327, 329 (1985)

   (citing 15 U.S.C. §§ 1052 and 1064). It is Milwaukee’s burden to establish that Freud’s

   color marks are generic by a preponderance of the evidence. Magic Wand Inc. v. RDB

   Inc., 940 F.2d 638, 19 USPQ2d 1551, 1554 (Fed. Cir. 1991).

         There is no disagreement that a single color applied to goods can be a trademark.

   It is settled that “no special legal rule prevents color alone from serving as a

   trademark.” Qualitex Co. v. Jacobson Prods. Co., 514 U.S. 159, 34 USPQ2d 1161,

   1162 (1995). A single color alone, however, can never be inherently distinctive and an



   26   Id.


                                             - 14 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 16 of 90 PageID #: 42

Cancellation Nos. 92059634 and 92059637

   applicant must establish that the color has acquired distinctiveness as a mark for the

   goods. Wal-Mart Stores, Inc. v. Samara Bros., 529 U.S. 205, 211-12, 54 USPQ2d 1065,

   1068 (2000). The question here, however, is whether the color red is generic for the

   identified goods and thus unregistrable under Trademark Act Sections 1, 2 and 45

   because it cannot function as a mark. BellSouth Corp. v. DataNational Corp., 60 F.3d

   1565, 35 USPQ2d 1554, 1557 (Fed. Cir. 1995) (“A generic term cannot be registered

   as a trademark because such a term cannot function as an indication of source.”). If

   it is generic, acquired distinctiveness cannot save it. See, e.g., Royal Crown Co. v.

   Coca-Cola Co., 892 F.3d 1358, 127 USPQ2D 1041, 1048 (Fed. Cir. 2018) (“[g]eneric

   terms cannot be rescued by proof of distinctiveness or secondary meaning no matter

   how voluminous the proffered evidence may be”) (citation omitted).

       To determine whether a single color applied to the goods can be generic for the

   identified goods, we begin with the relevant statutory text. Section 14 of the

   Trademark Act states that “[t]he primary significance of the registered mark to the

   relevant public . . . shall be the test for determining whether the registered mark has

   become the generic name of goods or services on or in connection with which it has

   been used.” 15 U.S.C. § 1064(3). The Court of Appeals for the Federal Circuit has held

   that “generic name” encompasses anything that potentially can but fails to serve to

   indicate source, including trade dress:

                Our review of the Lanham Act and relevant case law
                persuades us that the term “generic name” as used in 15
                U.S.C. Section 1064(3), must be read expansively to
                encompass anything that has the potential but fails to
                serve as an indicator of source, such as names, words,
                symbols, devices, or trade dress. Any narrower



                                             - 15 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 17 of 90 PageID #: 43

Cancellation Nos. 92059634 and 92059637

                 interpretation of “generic name” would allow incontestable
                 trademarks other than names that become generic to
                 retain incontestable status despite their inability to serve
                 as source designators. This would directly contravene the
                 purpose of the Lanham Act.

   Sunrise Jewelry Mfg. Corp. v. Fred S.A., 175 F.3d 1322, 50 USPQ2d 1532, 1535 (Fed.

   Cir. 1999). Thus, as a form of trade dress, a single color applied to goods may be

   generic for those goods if it “fails to serve as an indicator of source.” See id.

      Moreover, in a cancellation proceeding we look at both the time when the

   registrant registered its marks as well as at the present day to determine whether

   the mark must be cancelled. Cf. Neapco Inc. v. Dana Corp., 12 USPQ2d 1746, 1747

   (TTAB 1989) (“[I]f it is established either that as of the time of registration, the

   registered mark was merely descriptive and lacked a secondary meaning, or that as

   of the present time, the mark is merely descriptive and lacks a secondary meaning,

   the cancellation petition would be granted.”); Kasco Corp. v. S. Saw Serv. Inc., 27

   USPQ2d 1501, 1506 n.7 (TTAB 1993) (stating that petitioner could prevail if record

   revealed claimed mark lacked acquired distinctiveness either at time of registration

   “or as of the present time”).

      As the Board recently held in In re Odd Sox LLC, product packaging trade dress,

   like product design trade dress, may be deemed generic where it is “at a minimum,

   so common in the industry that it cannot be said to identify a particular source.” In

   re Odd Sox LLC, 2019 USPQ2d 370879 (TTAB 2019) (quoting Stuart Spector Designs,

   Ltd. v. Fender Musical Instruments Corp., 94 USPQ2d 1549, 1555 (TTAB 2009)

   (generic product design unregistrable)); see also Sunrise Jewelry, 50 USPQ2d at 1535-

   36 (noting that trade dress can be considered generic if it “consists of the shape of a


                                              - 16 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 18 of 90 PageID #: 44

Cancellation Nos. 92059634 and 92059637

   product that conforms to a well-established industry custom”) (citation omitted);

   Abercrombie & Fitch Stores Inc. v. Am. Eagle Outfitters Inc., 280 F.3d 619, 61

   USPQ2d 1769, 1781 (6th Cir. 2002) (“[N]o designer should have a monopoly on

   designs regarded by the public as the basic form of a particular item”). We hold that

   this standard applies equally to trade dress consisting of a single color.

      We further believe it is appropriate to apply a two-step inquiry to determine

   genericness of a single color similar to the inquiry we apply to word marks and other

   kinds of trade dress, where we first consider the genus of goods or services at issue,

   and second consider whether the color sought to be registered or retained on the

   register is understood by the relevant public primarily as a category or type of trade

   dress for that genus of goods or services. Odd Sox, 2019 USPQ2d 370879 at *6; see

   also Sunrise Jewelry, 50 USPQ2d at 1536 (assessing genericness of the “metallic

   nautical rope design” at issue as to the “genus of clocks, watches, and jewelry made

   of precious metal” and asking whether consumers would associate the design

   primarily with the product category “rather than with [registrant’s] specific line of

   products”); H. Marvin Ginn Corp. v. Int’l Ass’n of Fire Chiefs, Inc., 782 F.2d 987, 228

   USPQ 528, 530 (Fed. Cir. 1986) (setting forth two-step inquiry for word marks that

   considers the genus of goods or services and whether the term at issue is “understood

   by the relevant public primarily to refer to that genus of goods or services”).

   Accordingly, we will identify the appropriate genus of goods and then determine

   whether the color red is so common within the relevant genus that consumers would




                                            - 17 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 19 of 90 PageID #: 45

Cancellation Nos. 92059634 and 92059637

   primarily associate it with the genus rather than as indicating a unique source of

   goods within the genus. See Sunrise Jewelry, 50 USPQ2d at 1536.

          1. Genus of the goods

      Milwaukee seeks to cancel the ’769 registration for “saw blades,” but not the other

   identified goods, “cutting tools for power woodworking machines, namely, shaper

   cutters, . . . router bits or forestner [sic] bits.” Milwaukee seeks to cancel the entire

   ’314 registration for “blades for reciprocating power saws.” We find the genus of the

   goods is adequately defined by the identification of goods, or parts thereof, in the

   registrations. See Magic Wand, 19 USPQ2d at 1554; In re Trek 2000 Int’l Ltd., 97

   USPQ2d 1106, 1112 (TTAB 2010) (“[T]he genus of goods at issue in this case is

   adequately defined by applicant’s identification of goods. . . .”).

      It is clear from the record, arguments, and objections that Freud seeks to limit the

   wording “saw blades” in the ’769 registration to mean only circular saw blades for

   cutting wood. But we must analyze genericness based on the identification of goods

   as written. See Magic Wand, 19 USPQ2d at 1552 (“[A] proper genericness inquiry

   focuses on the description of the [goods] set forth in the certificate of registration”);

   see also Octocom Sys., Inc. v. Houston Comput. Servs. Inc., 918 F.2d 937, 16 USPQ2d

   1783, 1787 (Fed. Cir. 1990) (“The authority is legion that the question of registrability

   of an applicant’s mark must be decided on the basis of the identification of goods set

   forth in the application [or registration] regardless of what the record may reveal as

   to the particular nature of an applicant’s goods. . . .”).

      The ’769 registration contains no limitation as to the saw blades except that they

   are “cutting tools for power woodworking machines.” Accordingly, the genus “cutting


                                              - 18 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 20 of 90 PageID #: 46

Cancellation Nos. 92059634 and 92059637

   tools for power woodworking machines, namely . . . saw blades” is the correct genus

   and must be read to include any type of saw blade used with any power woodworking

   machines, such as circular saws, reciprocating saws, jigsaws, sabre saws, and drills.

   To put it in taxonomic terms, the genus “saw blades for power woodworking

   machines” must be read to include the species of circular saw blades, reciprocating

   saw blades, jigsaw blades, sabre saw blades, and even hole saw blades. See Park ’N

   Fly, 224 USPQ at 329 (“A generic term is one that refers to the genus of which the

   particular product is a species.”); see also Real Foods Pty Ltd. v. Frito-Lay N. Am.,

   Inc., 128 USPQ2d 1370, 1379 (Fed. Cir. 2018) (it is improper to narrow the genus of

   goods by focusing on the species). This interpretation of the term “saw blades” is

   consistent with the record. A number of exhibits show that different types of saw

   blades are sometimes grouped together for sales purposes. For example, Milwaukee’s

   search of the term “saw blades” on the Harbor Freight website displays reciprocating

   saw blades, hole saws, jigsaw blades, and circular saw blades. 27 And Freud’s red

   reciprocating saw blades are often advertised and sold alongside its red circular saw

   blades. 28 In sum, the term “saw blades” cannot be limited to only circular saw blades.

   Id., 128 USPQ2d at 1380.

         In addition, the record shows that many non-wood-cutting saw blades can be used

   on woodworking machines to cut material such as plastic laminates, fiber cement,




   27   Kohl Trial Decl., Ex. 6, 110 TTABVUE 97-100.
   28   Id., Ex. 23, 110 TTABVUE 265.


                                              - 19 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 21 of 90 PageID #: 47

Cancellation Nos. 92059634 and 92059637

   and metal. 29 Indeed, many of Freud’s non-wood-cutting circular saw blades are sold

   alongside its wood-cutting circular saw blades 30 and are compatible with circular

   saws. 31 Saw blades that cut material besides wood and that can be used with power

   woodworking machines, such as circular saws, reciprocating saws, jigsaws, sabre

   saws, and drills, therefore are relevant to our analysis as well. See Gen. Mills, 124

   USPQ2d at 1024. In the same way, the wording “blades for reciprocating power saws”

   in the ’314 registration must be read to include blades for cutting any material that

   can be cut by a reciprocating power saw, e.g. wood, plastic laminates, or metal.

         For convenience, we will refer to genus of the goods generally as “saw blades” or

   “reciprocating saw blades.”

            2. The relevant public

         The second part of the genericness test is whether the color red for saw blades is

   so common in the industry that it cannot be said to identify a particular source to

   consumers. The relevant public for a genericness determination is the purchasing or

   consuming public for the identified products. Loglan Inst. Inc. v. Logical Language

   Grp. Inc., 962 F.2d 1038, 22 USPQ2d 1531, 1533 (Fed. Cir. 1992) (citation omitted)

   (the relevant public encompasses “actual [and] potential purchasers of . . . goods or

   services” identified in the registration); Magic Wand, 19 USPQ2d at 1553 (citing In

   re Montrachet S.A., 878 F.2d 375, 11 USPQ2d 1393, 1394 (Fed. Cir. 1989)); In re



   29See, e.g., First Griswold Trial Decl., Ex. 37, 103 TTABVUE 243; Exs. 60 and 62, 104
   TTABVUE 61 and 76; Ex. 71, 105 TTABVUE 2.
   30   Kohl Trial Decl., Exs. 141-43, 148, 119 TTABVUE 4-35, 45-48.
   31   Kohl Trial Decl., Ex. 171, 119 TTABVUE 153 and 165.


                                               - 20 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 22 of 90 PageID #: 48

Cancellation Nos. 92059634 and 92059637

   Merrill Lynch, Pierce, Fenner, & Smith, Inc., 828 F.2d 1567, 4 USPQ2d 1141, 1143

   (Fed. Cir. 1987); H. Marvin Ginn, 228 USPQ at 530; Dan Robbins & Assocs., Inc. v.

   Questor Corp., 599 F.2d 1009, 202 USPQ 100, 105 (CCPA 1979). Here, the relevant

   public is consumers seeking saw blades for power woodworking machines or for

   reciprocating power saws. Since the identifications of goods contain no limitations as

   to prospective consumers or channels of trade, the relevant public includes all

   consumers of saw blades, both members of the general public and persons employed

   in professions that use such tools.

      The relevant public’s perception is the primary consideration in determining

   whether a term is generic. Merrill Lynch, 4 USPQ2d at 1142 (“It is basic to the inquiry

   to determine whether members of the relevant public primarily use or understand

   the term to refer to the genus of goods or services.”); see also Loglan Inst., 22 USPQ2d

   at 1533. Evidence of the public’s understanding may be obtained from any competent

   source, including testimony, surveys, dictionaries, trade journals, newspapers and

   other publications. Id. at 1533; Dan Robbins & Assocs., Inc., 202 USPQ at 105.

   Competitor use of a designation to refer to the genus of the goods also is evidence of

   genericness. BellSouth, 35 USPQ2d at 1558; see also Sunrise Jewelry, 50 USPQ2d at

   1535-36 (trade dress that is shown to conform to an established industry standard is

   generic); Stuart Spector Designs, 94 USPQ2d at 1555 (trade dress is generic if “the

   design is, at a minimum, so common in the industry that it cannot be said to identify

   a particular source.”); see also 2 J. Thomas McCarthy, MCCARTHY ON TRADEMARKS

   AND UNFAIR C OMPETITION , § 12:13 (5th ed. March 2019 update).




                                            - 21 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 23 of 90 PageID #: 49

Cancellation Nos. 92059634 and 92059637


        B. Whether Freud’s color marks are generic for the identified goods

        We now turn to the manner in which the relevant consumers encounter and likely

   perceive the color red applied to saw blades.

           1. The use of color in the tool industry.

        We begin with an overview of the use of color in the power tool and accessory

   industry. Both parties have submitted extensive evidence establishing that the use

   of color on products and packaging is ubiquitous. Neither party argues that the color

   red is functional. 32 Instead, the record shows the extensive use of color by tool and

   accessory manufacturers to create product uniformity and brand identity. Although

   manufacturers use a variety of colors on their products, some of the major tool and

   accessory manufacturers appear to have settled on single colors for substantial

   portions of their tools and for their advertising. For example, De Walt uses the color

   yellow; Ridgid uses orange; Bosch uses blue; Makita uses teal; Porter Cable and Skil

   use black; and Milwaukee, Craftsman, and Freud use red. Some manufacturers use

   several different colors. These proceedings stem from the fact that Milwaukee and

   Freud, among others, use the color red. Some examples of manufacturers’ use of color

   on tools appear below.




   32Some colors may serve a functional purpose. For example, colored sandpaper has been held
   to be functional: “In the field of coated abrasives, color serves a myriad of functions, including
   color coding, and the need to color code lends support for the basic finding that color,
   including purple, is functional in the field of coated abrasives having paper or cloth backing.”
   Saint-Gobain, 90 USPQ2d at 1447.


                                                - 22 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 24 of 90 PageID #: 50

Cancellation Nos. 92059634 and 92059637




                                                                33




                                                    34                    35




                                               36                    37




   33   Kohl Trial Decl., Ex. 220, 119 TTABVUE 329.
   34   First Griswold Trial Decl., Ex. 58, 104 TTABVUE 55.
   35   Id., Ex. 62, 104 TTABVUE 77.
   36   Kohl Trial Decl., Ex. 213, 119 TTABVUE 294.
   37   First Griswold Trial Decl., Ex. 73, 105 TTABVUE 18.


                                               - 23 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 25 of 90 PageID #: 51

Cancellation Nos. 92059634 and 92059637




                                             38                                          39


         In addition to the use of color on power tools, color also is used on tool accessories.

   Some cutting accessories are unpainted and therefore, being steel, are silver in color.

   Other cutting accessories are painted or coated with low friction coatings, enabling

   them to be manufactured in any color. As a result, consumers are confronted with a

   variety of colors used on cutting accessories, including saw blades. The following

   representative images show the colors blue, orange, yellow, white, green, teal, black,

   and red, used on different kinds of cutting accessories.




   38   Id., Ex. 75, 106 TTABVUE 30.
   39   Id., Ex. 36, 103 TTABVUE 236.


                                                  - 24 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 26 of 90 PageID #: 52

Cancellation Nos. 92059634 and 92059637




                                                                                              40




                                               41                                  42




                                                                                         43




   40   Kohl Trial Decl., Ex. 148, 119 TTABVUE 245. The Diablo brand is sold by Freud.
   41   Id., Ex. 148, 119 TTABVUE 47.
   42   Id., 119 TTABVUE 48.
   43   Id., Ex. 193, 119 TTABVUE 249.


                                               - 25 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 27 of 90 PageID #: 53

Cancellation Nos. 92059634 and 92059637




                                                                    44




                                                                    45




                                                               46




   44   First Valtierra SJ Decl., Ex. 9, 151 TTABVUE 927.
   45   Id., Ex. 9, 151 TTABVUE 937.
   46   Id., Ex. 1, 151 TTABVUE 45.


                                               - 26 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 28 of 90 PageID #: 54

Cancellation Nos. 92059634 and 92059637




                                                                        47




                                                                 48




                                                                             49




   47   Id., Ex. 2, 151 TTABVUE 319.
   48   First Konkel Decl., Ex. 241, 85 TTABVUE 271.
   49   Id., Ex. 168, 85 TTABVUE 24.


                                              - 27 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 29 of 90 PageID #: 55

Cancellation Nos. 92059634 and 92059637




                                                     50                                  51


         The above examples show that consumers are presented with a rainbow of colors

   used on both power tools and power tool accessories including saw blades. From this

   variety of colors, Freud claims that it owns the color red as applied to its goods.

             2. Freud’s use of the color red

         Freud states that it first used the color red on router bits in 1988. 52 In order to

   create a unified red-colored brand identity, Freud expanded the use of the color red

   to shaper cutters, Forstner bits, circular saw blades, and reciprocating saw blades. 53

   Freud sells its red saw blades under both the FREUD and DIABLO brands. 54 The


   50   Serial No. 75150972, Response to Office Action dated February 27, 1998, p. 23.
   51   Id. at 27.
   52   Brewer Dep., p. 22, 100 TTABVUE 26.
   53   Id. at 40, 100 TTABVUE 44.
   54As shown below, some DIABLO brand blades also display the FREUD mark, but others do
   not. The extent to which consumers are aware that DIABLO and FREUD are related brands
   is not clear from the record. Consumer unawareness of the relationship between DIABLO
   and FREUD would tend to diminish consumer recognition of the color red as indicating a
   single source for the goods. Cf. British Seagull Ltd. v. Brunswick Corp., 28 USPQ2d 1197
   (TTAB 1993), aff’d, 35 F.3d 1527, 32 USPQ2d 1120 (Fed. Cir. 1994) (applicant itself was


                                                - 28 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 30 of 90 PageID #: 56

Cancellation Nos. 92059634 and 92059637

   color red covers both sides of the saw blades. Evidence and specimens from the

   applications underlying Freud’s ’769 and ’314 registrations showing its use of the

   color red on its goods appear below.




                                                                          55




                                                                                           56




   responsible for some of the third party use of the color black for marine engines, in that it
   manufactured black engines for sale by a retail merchant under the merchant’s own
   trademark, and a subsidiary of applicant has sold black engines under the subsidiary’s own
   mark). In light of the findings discussed below, we need not address consumer perception
   regarding the DIABLO and FREUD relationship.
   55   Serial No. 75150972, Response to Office Action dated February 27, 1998, p. 22.
   56   Serial No. 85236666, Response to Office Action dated May 19, 2011, p. 3.


                                                - 29 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 31 of 90 PageID #: 57

Cancellation Nos. 92059634 and 92059637

   A 2014 retail store display shows extensive use of the color red in presenting Freud

   and Diablo accessories.




                                                                                  57


         Not all of Freud’s saw blades are colored red. Freud sells unpainted circular saw

   blades, and as late as 2003, Freud sold black circular saw blades. Additionally, some

   of Freud’s reciprocating saws blades are colored both red and white. Examples are

   shown below. 58




   57   Kohl Trial Decl., Ex. 161, 119 TTABVUE 84.
   58Id., Ex. 161, 119 TTABVUE 84; Ex. 141, 119 TTABVUE 6 and 9; Ex. 312, 119 TTABVUE
   341.


                                              - 30 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 32 of 90 PageID #: 58

Cancellation Nos. 92059634 and 92059637




         3. Milwaukee’s use of the color red on tools and accessories

      Milwaukee’s testimony establishes that for more than 60 years it has used the

   color red as part of its branding strategy. Extensive catalog and sales evidence

   establishes Milwaukee’s long use of the color red on a variety of tools, advertising,

   packaging, and accessories, including a variety of power saw blades. For example, a

   1967 advertisement and the cover of a 2000 tool catalog show the use of red on

   Milwaukee power tools:




                                          - 31 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 33 of 90 PageID #: 59

Cancellation Nos. 92059634 and 92059637




                                                59                                   60


         Similarly, a 2002 tool and accessories catalog shows use of red as both a

   background color and on Milwaukee’s tools. And a 2008 merchandising display

   catalog shows extensive use of the color red on store displays presenting Milwaukee’s

   accessories:




   59   First Griswold Trial Decl., Ex. 9, 103 TTABVUE 48.
   60   Id., Ex. 36, 103 TTABVUE 236.


                                               - 32 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 34 of 90 PageID #: 60

Cancellation Nos. 92059634 and 92059637




                                           61                                62




   61   Id., Ex. 38, 103 TTABVUE 252.
   62   Id., Ex. 43, 104 TTABVUE 17.


                                          - 33 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 35 of 90 PageID #: 61

Cancellation Nos. 92059634 and 92059637

         A 2017 Home Depot display of Milwaukee’s products shows the use of red on

   Milwaukee’s tools and in advertising and packaging.




                                                                        63




   63   Fourth Konkel Testimony Decl., Ex. 387, 142 TTABVUE 6.


                                             - 34 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 36 of 90 PageID #: 62

Cancellation Nos. 92059634 and 92059637

         Milwaukee has run sales promotions emphasizing the color red under names such

   as the “Red Zone” and “Red Flag Challenge.” 64 The color red thus has been a

   significant part of Milwaukee’s branding since at least the 1950’s. Milwaukee

   extended its use of the color red to accessories, including reciprocating saw blades,

   jigsaw blades and hole saws, starting as early as 1956 with the sale of red

   reciprocating saw blades, which it sold until approximately 2004. 65

         Milwaukee’s confidential sales figures provided for the period from 1990 to 2004

   show total sales of these saws in the tens of millions of dollars on well over a million

   units sold. 66 Representative examples of advertising for Milwaukee’s               red

   reciprocating saw blades from 1956 and 1999 are shown below:




   64   First Griswold Trial Decl., ¶ 7; Exs. 1-3, 107 TTABVUE 24-49.
   65Id., pp. 7-10; 107 TTABVUE 9-12. After 2004, Milwaukee changed the color scheme of its
   reciprocating saw blades to red lettering on a white background in predominately red
   packaging. Milwaukee’s sales figures for its red saw blades have been designated as
   confidential, therefore we discuss them only in general terms.
   66   First Griswold Trial Decl., pp. 7-10; 107 TTABVUE 9-12.


                                                - 35 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 37 of 90 PageID #: 63

Cancellation Nos. 92059634 and 92059637




                                                  67                                     68


         Milwaukee has sold red jigsaw blades since at least 1960 and continues to do so. 69

   Milwaukee’s confidential sales figures provided for the period from 1990 to 2016 show

   total sales of these saw blades in the millions of dollars and well over a million units




    Milwaukee 1956 reciprocating saw advertisement with red blade, First Griswold Trial
   67

   Decl., Ex. 4, 103 TTABVUE 32.
   68Milwaukee 1999 Sawzall® blade catalog page with red blades, id., Ex. 35, 103 TTABVUE
   231.
   69   Griswold Test., p. 10, 107 TTABVUE 12.


                                                 - 36 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 38 of 90 PageID #: 64

Cancellation Nos. 92059634 and 92059637

   sold. 70 Below are excerpts from 1991 Milwaukee catalogs advertising red jigsaw

   blades, as well as blades in other colors such as yellow, white and black:




                                                                         71




   70   Id. at 10-12, 107 TTABVUE 12-14.
   71   Milwaukee 1991 catalog, First Griswold Trial Decl., Ex. 27, 103 TTABVUE 169.


                                               - 37 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 39 of 90 PageID #: 65

Cancellation Nos. 92059634 and 92059637




                                                                              72


         Milwaukee began selling red hole saws in 1970 and continues to do so. 73

   Confidential sales data provided for the period from 1990 to 2016 show total sales of




   72   Milwaukee 2005-06 catalog, Griswold Test., Ex. 41, 104 TTABVUE 7.
   73   First Griswold Trial Decl, p. 12, 107 TTABVUE 14.


                                               - 38 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 40 of 90 PageID #: 66

Cancellation Nos. 92059634 and 92059637

   these saws in the tens of millions of dollars and well over four million units sold. 74

   Below are some examples of Milwaukee’s advertising for its red hole saws:




                                                75                                       76


         Milwaukee’s evidence establishes that it used the color red on reciprocating saw

   blades, jigsaw blades and hole saws for decades before Freud’s claimed date of first

   use of the color red on saw blades. Milwaukee continues to use the color red on jigsaw

   blades and hole saws. The sales figures further establish that this use is both long-

   running and significant in volume. This extensive evidence of use of the color red on

   saw blades by a direct competitor of Freud is evidence that purchasers of saw blades




   74   Griswold Test., pp. 15-16, 107 TTABVUE 17-18.
   75   Milwaukee 1970 hole saw advertisement, Griswold Test., Ex. 12, 103 TTABVUE 61.
   76   Milwaukee 1991 catalog, id., Ex. 27, 103 TTABVUE 168.


                                              - 39 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 41 of 90 PageID #: 67

Cancellation Nos. 92059634 and 92059637

   would be unlikely to differentiate between competing sources simply by viewing the

   color red on the saw blades. See BellSouth, 35 USPQ2d at 1558.

            4. Other red circular saw blades

         Milwaukee introduced examples of other circular saw blades, colored red, in whole

   or in significant part. The saw blades are for cutting wood, laminate, plastic, metal

   or concrete and stone. In some cases Milwaukee purchased the blades thereby

   establishing their availability to U.S. consumers. In other cases only the advertising,

   catalog excerpt, web page, or media reference was made of record. The following

   examples are representative.


               a.   Hilti circular saw blades

         Hilti is a manufacturer and seller of tools and accessories,

   including saw blades. It advertised red saw blades on its

   website and sold them at Hilti-branded retail stores and via

   third-party online sites. 77 In 2016, Milwaukee purchased the

   predominately red colored blade shown at right from a Hilti

   store. 78 Some of Hilti’s blades were manufactured by Freud’s sister company, Scintilla

   AG. 79 Both Freud and Scintilla are now owned by Bosch, which bought Freud in

   2009. 80




   77   First MT NOR ¶ 6(a), 95 TTABVUE 6, Ex. 11, 97 TTABVUE 22.
   78   First Konkel Decl., ¶¶ 16-17, 83 TTABVUE 7, Ex. 10-13, 83 TTABVUE 101.
   79   Second MT NOR, ¶¶ 1-2, 155 TTABVUE 3, Ex. 22, 155 TTABVUE 111-18, 129-35.
   80   Id., ¶ 4, 155 TTABVUE 3, Ex. 55, 146 TTABVUE 35.


                                                - 40 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 42 of 90 PageID #: 68

Cancellation Nos. 92059634 and 92059637

         In August 2017, well after these proceedings began,

   Freud signed an agreement with Hilti for it to phase out the

   sale of red circular saw and reciprocating saw blades.

   However, Hilti continues to advertise at least one red

   circular saw blade for cutting concrete and masonry, shown

   at right. 81


                b.   SystiMatic circular saw blades

         During the pendency of Freud’s application

   underlying the ’769 registration, another saw blade

   manufacturer, SystiMatic, advertised red circular

   saw blades. Freud submitted the advertisement at

   right as part of its response to the Examining

   Attorney‘s information request regarding the use of

   color by Freud’s competitors. 82 Freud’s Brewer

   testimony indicates that SystiMatic is no longer in

   business. 83       Nevertheless,      this     SystiMatic

   advertisement shows that as far back as 1996, Freud’s use of the color red on circular

   saw blades was not exclusive because at least one other company was advertising red

   circular saw blades.


   81Id., ¶¶ 1, 3, 155 TTABVUE 3, Ex. 22, 155 TTABVUE 112, and Ex. 23, 155 TTABVUE
   136.
   82   Serial No. 75150972, response office action dated February 27, 1998, p. 29.
   83   Brewer Trial Decl., ¶ 12, 120 TTABVUE 4.


                                                 - 41 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 43 of 90 PageID #: 69

Cancellation Nos. 92059634 and 92059637


               c.   Benchmark’s circular saw blade

         Milwaukee introduced an excerpt from a YouTube

   video showing a Benchmark brand reddish-colored carbide

   tipped circular saw blade. 84




               d.   Bosch

         Milwaukee introduced a web page advertising the Bosch

   “Segmented Rim Diamond Blade” for “cutting pavers, soft

   brick, asphalt and concrete/block” for use in angle grinders. 85

   As noted above, Bosch is Freud’s parent company.




               e.   Specialty Tools & Fasteners Distributors Association Directory

         Milwaukee introduced a trade publication, the 2017 Member Directory of the

   Specialty Tools & Fasteners Distributors Association, featuring advertisements for

   several red abrasive circular saw blades, including the Pearl Abrasive metal cutting

   blades, Diamond Vantage abrasive blade, and Motoyuki metal cutting blade, shown

   below, respectively. 86




   84   Second MT NOR, ¶ 10, 155 TTABVUE 7, Ex. 36, 145 TTABVUE 162.
   85   Id., ¶ 5, 155 TTABVUE 4, Ex. 25, 155 TTABVUE 148.
   86   Id., ¶ 9, 155 TTABVUE 5, Ex. 34, 145 TTABVUE 72-73 and 82.


                                             - 42 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 44 of 90 PageID #: 70

Cancellation Nos. 92059634 and 92059637




               f.   Changheng circular saw blades

         In 2016, Milwaukee purchased the Changheng

   red circular woodworking saw blade shown at

   right from Amazon.com. 87 Brewer testified that in

   2017, Freud sent a cease and desist letter to

   Uxcell, the distributor of the Changheng red

   circular saw blade. 88 Uxcell purportedly acceded

   to Freud’s request to discontinue sales of the

   blade.


               g.   JiaBo circular saw blade

         In 2016, Milwaukee purchased the JiaBo red circular

   wood cutting saw blade shown at right from the Walmart.com

   website. 89 Brewer testified that in 2017, Freud sent a cease

   and desist letter to Tasharina Corporation, the distributor of




   87   First Konkel Decl., ¶¶ 21-23, 83 TTABVUE 8, Ex. 20-24, 83 TTABVUE 147.
   88   Brewer Trial Decl., ¶ 18(b), 120 TTABVUE 11, Ex. 243, 120 TTABVUE 144.
   89   First Konkel Decl., ¶¶ 24-26, 83 TTABVUE 9, Ex. 25-30, 83 TTABVUE 150.


                                               - 43 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 45 of 90 PageID #: 71

Cancellation Nos. 92059634 and 92059637

   the JiaBo red circular saw blade. 90 Tasharina purportedly acceded to Freud’s request

   to discontinue sales of the blade.


                h.   Lenox MetalMax circular saw blade

         In 2017, the web page of Lennox Tools advertised the

   Lenox MetalMax diamond circular saw blade for cutting

   metal, shown at right. The blade was advertised as being

   suitable for circular saws, in diameters from six to eight

   inches. 91


                i.   Ox circular saw blade

         An excerpt from the November/December 2016 issue of

   Professional Deck Builder provides information about the

   Ox brand diamond blade for cutting stone and metal, and

   available in diameters from four inches to fourteen

   inches. 92


                j.   Quiwang circular saw blade

         In 2016, Amazon.com advertised a red Quiwang brand

   circular saw blade for cutting wood. 93




   90   Brewer Trial Decl., ¶ 18(b), 120 TTABVUE 11, Ex. 243, 120 TTABVUE 144.
   91   Second MT NOR, ¶ 5, 155 TTABVUE 4, Ex. 24, 155 TTABVUE 143.
   92   Id., ¶ 14, 155 TTABVUE 11, Ex. 53, 146 TTABVUE 23.
   93   First MT NOR, ¶ 6(a), 95 TTABVUE 6, Ex. 11, 97 TTABVUE 112.


                                             - 44 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 46 of 90 PageID #: 72

Cancellation Nos. 92059634 and 92059637


                 k.   Vermont American circular saw dado blades

         In 2017, Vermont American advertised a “Dial-A-

   Groove® Carbide Tipped Adjustable” Dado circular saw

   blade       with     a    red   center    on      its   website

   vermontamerican.com. The blade is used to cut “dadoes,

   rabbets, splines and lap joints in wood, composite materials

   and plastics.” 94


                 l.   Xingxiang circular saw blade

         In 2016, Walmart.com advertised the red Xingxiang

   brand circular saw blade for cutting wood. Milwaukee

   purchased one of the saw blades from the Walmart.com

   website. 95

            5. Third-party red reciprocating saw blades

         Milwaukee introduced numerous examples of third-party red reciprocating saw

   blades. The saw blades are for cutting wood, laminate, plastic, or metal. As with the

   circular saw blades, in some cases Milwaukee purchased the blades, thereby

   establishing their availability to U.S. consumers. In other cases only the advertising,

   catalog excerpt, web page, or media reference was made of record. The following

   examples are representative.




   94   Second MT NOR, ¶ 6, 155 TTABVUE 5, Ex. 26, 155 TTABVUE 153.
   95   First Konkel Decl., ¶¶ 27-29, 83 TTABVUE 11, Ex. 31, 83 TTABVUE 163.


                                              - 45 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 47 of 90 PageID #: 73

Cancellation Nos. 92059634 and 92059637


                    a. Bosch 1988 tool catalog with red blade.

         Milwaukee introduced a 1988 Bosch tool catalog with a cover featuring a

   reciprocating saw with a red saw blade. Although no branding is visible on the red

   saw blade, Bosch’s depiction of the red blade precedes any claimed use by Freud of

   red on saw blades.




                                                                                    96




               b.     Campbell Hausfeld red reciprocating saw blades

         In 2016, Milwaukee purchased a Campbell Hausfeld red reciprocating saw blade

   set from the Build.com website. The five piece set included three red saw blades of

   the type shown below, and was advertised for sale on five other retail websites,

   including Amazon.com and Walmart.com. Freud argues that the blade is orange, not




   96   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19, Ex. 58, 104 TTABVUE 54.


                                               - 46 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 48 of 90 PageID #: 74

Cancellation Nos. 92059634 and 92059637

   red, but the packaging states that the kit contains three red blades and two gray

   blades. 97




                c.   Century Drill & Tool red reciprocating saw blades

         In 2016, Milwaukee purchased a red Century brand reciprocating saw blade from

   Amazon.com. The wood, metal and PVC-cutting saw blade, shown below, was

   advertised for sale on several other retail websites, including Walmart.com and

   Houzz.com.




                                                                              98




                d.   Craftsman tool catalogs

         Milwaukee made of record several Craftsman brand power and hand tool catalogs

   from 1998 to 2001. These catalogs show Craftsman and Makita brand reciprocating

   saws featuring red saw blades long before Freud’s first claimed use of red on

   reciprocating saw blades on August 3, 2009.



   97   First Konkel Decl., ¶¶ 40-43, 83 TTABVUE 15, Ex. 67, 83 TTABVUE 273-74.
   98   Second Konkel Decl., ¶¶ 5-16, 88 TTABVUE 3, Ex. 329, 88 TTABVUE 48.


                                               - 47 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 49 of 90 PageID #: 75

Cancellation Nos. 92059634 and 92059637




                                                  99                                      100




                e.   Do-It-Best red reciprocating saw blades

         In 2016, Milwaukee purchased several red Do it brand metal-cutting reciprocating

   saw blades from the Do-It-Best website and from an authorized retailer, Neitzel Auto

   & Hardware. One of the blades is shown below.




                                                                                    101




                f.   Heleta/Bullet Industries red reciprocating saw blade

         In 2016, Milwaukee purchased a red Bullet Industries brand multipurpose

   reciprocating saw blade, shown below, from the Heleta.com website.




                                                                                          102




   99   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19, Ex. 85, 106 TTABVUE 20.
   100   Id.
   101   First Konkel Decl., ¶¶ 78-89, 83 TTABVUE 32, Ex. 148, 84 TTABVUE 264.
   102   Id., ¶¶ 48-52, 83 TTABVUE 20, Ex. 87, 84 TTABVUE 34.


                                              - 48 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 50 of 90 PageID #: 76

Cancellation Nos. 92059634 and 92059637


                g.   Illinois Industrial Tool red reciprocating saw blades

         In 2016, Milwaukee purchased an Illinois Industrial Tool set of ten reciprocating

   saw blades from Blattsbargains.com. The set of multicolored blades included two red

   metal-cutting saw blades, shown below.




                                                                                       103


         Brewer testified that in 2017, Freud sent a cease and desist letter to Illinois

   Industrial Tool, the manufacturer of the reciprocating saw blade set. Illinois

   Industrial Tool acceded to Freud’s request to discontinue sales of the red blade and

   sold its remaining inventory to Freud. 104




   103   Id., ¶¶ 44-47, 83 TTABVUE 18, Ex. 80, 84 TTABVUE 12.
   104   Brewer Trial Decl., ¶ 18(c), 120 TTABVUE 12, Ex. 244, 120 TTABVUE 158.


                                              - 49 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 51 of 90 PageID #: 77

Cancellation Nos. 92059634 and 92059637


                h.   Ingersoll Rand red reciprocating saw blades

         In 2016, Milwaukee purchased Ingersoll Rand red metal-cutting saw blades for

   pneumatic reciprocating saws at a Tractor Supply Company store and a Toolbarn

   store. The saw blades also are sold by Grainger, Sears, and Walmart.



                                                                          105




                i.   Irwin red reciprocating saw blades

         Milwaukee introduced 1991 and 1994 Irwin tool catalogs with images including

   red reciprocating saw blades. Irwin’s depiction of the red blades precedes any claimed

   use by Freud of red on saw blades.




                                                              106




   105   First Konkel Decl., ¶¶ 53-64, 83 TTABVUE 22, Ex. 120, 84 TTABVUE 134.
   106   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19, Ex. 60, 104 TTABVUE 65.


                                              - 50 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 52 of 90 PageID #: 78

Cancellation Nos. 92059634 and 92059637


                j.   Makita red reciprocating saw blades

         Milwaukee introduced three 1999-2001 Makita tool catalogs with images

   featuring Makita-branded red reciprocating saw blades, shown below. Makita’s

   depiction of the red blades precedes any claimed use by Freud of red on reciprocating

   saw blades.


                                                                     107




                k.   Master Mechanic red reciprocating saw blades

         In 2016, Milwaukee purchased two Master Mechanic brand reciprocating saws

   from the True Value website and a True Value retail store. The reciprocating saws

   included a red blade, shown below.




                                                                      108




                l.   Maxbilt red reciprocating saw blades

         In 2016, Milwaukee purchased a red wood-pruning Maxbilt reciprocating saw

   blade set from Amazon.com. The set included thirty red blades for cutting metal and

   wood, and for pruning trees.




   107   Id., ¶ 35, 103 TTABVUE 19, Ex. 62, 104 TTABVUE 79.
   108   First Konkel Decl., ¶¶ 30-39, 83 TTABVUE 12-14, Ex. 44, 83 TTABVUE 209.


                                              - 51 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 53 of 90 PageID #: 79

Cancellation Nos. 92059634 and 92059637




                                                                              109




                m.   Mibro red reciprocating saw blades

         The Mibro website displays images of red reciprocating saw blades.




                                                          110




                n.   REMS red reciprocating saw blades

         In 2016, Milwaukee purchased red multipurpose REMS brand reciprocating saw

   blades from the Teal Corporation, a REMS distributor. 111 The REMS website also

   displays images of red reciprocating saw blades, 112 and videos featuring the blades

   appear on YouTube:




   109   Id., ¶¶ 75-77, 83 TTABVUE 32, Ex. 138, 84 TTABVUE 226.
   110   Id., ¶¶ 90-103, 83 TTABVUE 35-38, Ex. 158, 84 TTABVUE 293.
   111   Id., ¶¶ 65-74, 83 TTABVUE 29-31, Exs. 130-32, 84 TTABVUE 201-06.
   112   Id., Exs. 122-24, 84 TTABVUE 137-48.


                                                - 52 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 54 of 90 PageID #: 80

Cancellation Nos. 92059634 and 92059637




                                                                             113




                o.   Ridgid red reciprocating saw blades

         Milwaukee     introduced    seven   Ridgid    tool

   catalogs, ranging from 1978 to 2004, with numerous

   images showing red reciprocating saw blades. A

   representative excerpt from the 1983 Ridgid tool

   catalog is shown at right. 114 Ridgid’s depiction of the

   red blades precedes any claimed use by Freud of red

   on saw blades. Ridgid continued to advertise red reciprocating saw blades on its web

   site as recently as 2017. 115




   113   Second MT NOR, ¶ 10, 155 TTABVUE 7-8, Ex. 36, 145 TTABVUE 157.
   114   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19, Ex. 74, 105 TTABVUE 24.
   115   Second MT NOR, ¶ 6, 155 TTABVUE 4-5, Ex. 27, 155 TTABVUE 156-60.


                                              - 53 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 55 of 90 PageID #: 81

Cancellation Nos. 92059634 and 92059637


                p.   Rockwell reciprocating saw with red blade

         Milwaukee introduced excerpts from the websites of JCPenny, Walmart, and BJ’s

   Wholesale Club showing advertising for a Rockwell reciprocating saw with a red

   blade, shown below.




                                                                            116




                q.   Sioux Tools red reciprocating saw blades

         Milwaukee introduced excerpts from the Sioux Tools website, catalog, and

   brochures showing advertising for a Sioux Tool pneumatic reciprocating saw with a

   red blade, as well as red saw blades sold separately, both shown below. Milwaukee

   purchased one of the saw blades from the website of Motion Industries. 117




                                                118                                    119




   116   Third Konkel Decl., ¶¶ 23-24, 94 TTABVUE 10-11, Ex. 379, 94 TTABVUE 118-19.
   117   Id., Exs. 363-66, 94 TTABVUE 73-81.
   118   Id., ¶¶ 10-17, 94 TTABVUE 6-8, Ex. 359, 94 TTABVUE 62.
   119   Id.


                                               - 54 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 56 of 90 PageID #: 82

Cancellation Nos. 92059634 and 92059637


                r.   Tool Shop red reciprocating saw blades

         In 2017, Milwaukee purchased Tool Shop brand red wood-cutting reciprocating

   saw blades, shown below, from the Menard’s website and from a Menard’s retail store.




                                                                                   120




                s.   Skil red reciprocating saw blades

         Milwaukee introduced four Skil brand tool catalogs, from 1992 to 1998, with

   numerous images showing red reciprocating saw blades. An example from the 1992

   Skil tool catalog is shown below. Skil’s depiction of the red blades precedes any

   claimed use by Freud of red on saw blades.


                                                                 121




                t.   Unitec red reciprocating saw blades

         Milwaukee introduced excerpts from a 2004 Unitec tool catalog showing

   advertising for a Unitec pneumatic reciprocating saw with a red metal cutting blade,

   as well as the blades sold separately, both shown below. 122 Unitec’s 2004 depiction of

   the red blades precedes any claimed use by Freud of red on reciprocating saw blades.




   120   Id., ¶¶ 4-9, 18-22, 94 TTABVUE 4-6, Exs. 352 and 356, 94 TTABVUE 39 and 49.
   121   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19-20, Ex. 89, 106 TTABVUE 39.
   122   Id., ¶ 35, 103 TTABVUE 19-20, Ex. 93, 106 TTABVUE 62 and 67.


                                              - 55 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 57 of 90 PageID #: 83

Cancellation Nos. 92059634 and 92059637




            6. Third-party red jigsaw and sabre saw blades

         Milwaukee introduced examples of third-party red saw blades for jigsaws and

   sabre saws. The saw blades are for cutting wood, laminate, plastic, or metal. As with

   the other saw blades, in some cases Milwaukee purchased the blades, thereby

   establishing their availability to U.S. consumers. In other cases only the advertising,

   catalog excerpt, web page, or media reference was made of record. The following

   examples are representative.


                a.   ATE Pro red sabre saw blades

         In 2016, Milwaukee purchased an ATE Pro brand sabre saw blade set from

   Amazon.com. The set included eight different saw blades including a red saw blade,

   shown below.




                                                                       123




   123   First Konkel Decl., ¶¶ 142-47, 83 TTABVUE 50-51, Ex. 240-43, 85 TTABVUE 267-75.


                                              - 56 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 58 of 90 PageID #: 84

Cancellation Nos. 92059634 and 92059637


                b.   Cal-Hawk red jigsaw blades

         In 2016, Milwaukee purchased a Cal-Hawk brand jigsaw blade set from the Sears

   website. The fourteen piece set included two red saw blades, shown below, and also

   was advertised for sale on three other retail websites.




                                                                            124




                c.   Century red jigsaw blades

         In 2016, Milwaukee purchased red Century jigsaw blades for cutting metal, shown

   below from Amazon.com. These blades were advertised on several other websites,

   including Walmart.com.




                                                                   125




   124   Id., ¶¶ 132-135, 83 TTABVUE 47-49, Ex. 226, 85 TTABVUE 220.
   125   Second Konkel Decl., ¶¶ 12-16, 88 TTABVUE 5-7, Ex. 339, 88 TTABVUE 91.


                                             - 57 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 59 of 90 PageID #: 85

Cancellation Nos. 92059634 and 92059637


                d.   Grand Rapids Industrial Products red jigsaw blades

         In 2016, Milwaukee purchased from the Sears.com website a Grand Rapids

   Industrial Products fourteen piece jigsaw blade set which included two red saw blades

   as shown in advertisements, below left, and as received, below right.




                                                                       126




                e.   Hawk brand red sabre saw blades

         In 2016, Milwaukee purchased a red Hawk brand sabre saw blade set from

   Amazon.com. The set of multicolored blades included a red metal-cutting saw blade.




                                                                                   127




                f.   Mibro red jigsaw saw blades

         In 2016, Milwaukee purchased the red Mibro brand jigsaw blade, shown below,

   from the Tractor Supply Company website, a Tractor Supply Company retail store,

   and Amazon.com.


                                                                             128




     First Konkel Decl., ¶¶ 118-25, 83 TTABVUE 43-45, Exs. 199 and 207, 85 TTABVUE 139
   126

   and 169.
   127   Id., ¶¶ 151-153, 83 TTABVUE 52-53, Ex. 252, 85 TTABVUE 306.
   128   Id., ¶¶ 90-103, 83 TTABVUE 35-39, Ex. 164, 85 TTABVUE 15.


                                             - 58 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 60 of 90 PageID #: 86

Cancellation Nos. 92059634 and 92059637


                g.   Porter Cable red jigsaw blades

         Milwaukee introduced six Porter Cable tool catalogs,

   ranging from 1990 to 2004/2005, with numerous images

   showing red jigsaw and reciprocating saw blades. An excerpt

   from the 1990 Porter Cable tool catalog is shown at right.129

   Porter Cable’s depiction of the red blades precedes any claimed

   use by Freud of red on saw blades.

         In 2016, Milwaukee purchased the red Porter Cable brand jigsaw blade, shown

   below, from the Sears.com website.




                                                                    130




                h.   Tool Choice red jigsaw blades

         In 2016, Milwaukee purchased a Tool Choice brand jigsaw

   blade set from Amazon.com. 131 The set included two red jigsaw

   blades, as shown at right. 132




   129   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19, Ex. 68, 104 TTABVUE 109.
   130   First Konkel Decl., ¶¶ 104-08, 83 TTABVUE 39-41, Ex. 184, 85 TTABVUE 91.
   131   Id., ¶¶ 126-31, 83 TTABVUE 45-47, Ex. 212, 85 TTABVUE 183.
   132   Id., Ex. 213, 85 TTABVUE 170.


                                              - 59 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 61 of 90 PageID #: 87

Cancellation Nos. 92059634 and 92059637


                i.   Rockwell red jigsaw blades

         In 2016, Milwaukee purchased a red Rockwell brand jigsaw blade from the

   Woodworker’s Supply website.



                                                                              133




                j.   Skil red jigsaw blades

         Milwaukee introduced four Skil tool catalogs, from 1992 to 1998, with numerous

   images showing red jigsaw blades. An example from the 1992 catalog is shown below.

   Skil’s depiction of the red blades precedes any claimed use by Freud of red on saw

   blades.



                                                                        134




                k.   Tuf-E-Nuf red jigsaw blades

         In 2017, Milwaukee purchased Tuf-E-Nuf brand red jigsaw blade sets from the

   Task Tools website and from Amazon.com. The jigsaw blade sets included three red

   saw blades, one of which is shown below.




                                                                          135




   133   Third Konkel Decl., ¶¶ 25-27, 94 TTABVUE 11-12, Ex. 384, 94 TTABVUE 132.
   134   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19-20, Ex. 89, 106 TTABVUE 40.
   135   First Konkel Decl., ¶¶ 109-17, 83 TTABVUE 41-43, Ex. 192, 85 TTABVUE 115.


                                              - 60 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 62 of 90 PageID #: 88

Cancellation Nos. 92059634 and 92059637


                l.   White Dog red jigsaw blades

         In 2017, Milwaukee purchased a fourteen piece

   White Dog brand jigsaw blade set from Amazon.com.

   The jigsaw blade sets included two red saw blades,

   shown at right. 136




            7. Third-party red hole saws

         Milwaukee introduced numerous examples of third-party red hole saws. These

   hole saws are used in drills to cut wood, laminate, plastic, or metal. As with the other

   saw blades, in some cases Milwaukee purchased the blades, thereby establishing

   their availability to U.S. consumers. In other cases only the advertising, catalog

   excerpt, web page, or media reference was made of record. The following examples

   are representative.


                a.   Do-It-Best hole saws

         In 2016, Milwaukee purchased a red Do-It-Best brand hole saw from a Do-It-Best

   authorized a retailer, Neitzel Auto & Hardware. The hole saw, advertised as suitable

   for cutting wood, is shown below.




   136   Id., ¶¶ 136-41, 83 TTABVUE 49-50, Ex. 234, 85 TTABVUE 238.


                                             - 61 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 63 of 90 PageID #: 89

Cancellation Nos. 92059634 and 92059637




                                                         137




                b.   Irwin red hole saws

         Milwaukee introduced a 1991 Irwin tool accessory catalog with images including

   red hole saws, as shown below. Irwin’s 1991 depiction of the red hole saws precedes

   any claimed use by Freud of red on saw blades.




                                                               138




   137   Id., ¶¶ 180-84, 83 TTABVUE 65-67, Ex. 317, 86 TTABVUE 240.
   138   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19, Ex. 60, 104 TTABVUE 67.


                                              - 62 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 64 of 90 PageID #: 90

Cancellation Nos. 92059634 and 92059637


                c.   Malco red hole saws

         Malco hole saws are advertised on the Malco website and on the websites of

   several home improvement stores. Videos featuring Malco hole saws also appear on

   YouTube. 139 In 2016, Milwaukee purchased a red Malco

   brand hole saw from the Toolbarn website. The hole

   saw, advertised as suitable for cutting wood, is shown at

   right. 140


                d.   Mibro red hole saws

         Mibro hole saws are advertised on the Mibro website

   and on the website of the Tractor Supply Company. In

   2016, Milwaukee purchased a red Mibro brand hole saw

   from Tractor Supply Company retail store. The hole saw,

   advertised as suitable for cutting wood and plastic, is

   shown at right. 141


                e.   Morse red hole saws

         Milwaukee introduced 1998 and 2012 Morse brand tool accessory catalogs with

   images including numerous red hole saws. Morse’s 1998 depiction of the red hole saws

   precedes any claimed use by Freud of red on reciprocating saw blades. 142 Morse hole



   139First Konkel Decl., ¶¶ 160-65, 83 TTABVUE 57-60; Second MT NOR ¶ 10, 155 TTABVUE
   7, Ex. 36, 145 TTABVUE 165.
   140   First Konkel Decl., Ex. 290, 86 TTABVUE 139.
   141   Id., ¶¶ 173-179, 83 TTABVUE 63-65, Ex. 310, 86 TTABVUE 219.
   142   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19, Exs. 66-67, 104 TTABVUE 94-107.


                                              - 63 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 65 of 90 PageID #: 91

Cancellation Nos. 92059634 and 92059637

   saws are advertised on the Morse website and on several other hardware and tool

   websites such as Grainger, Hardware World, and Essential Hardware. 143 Videos

   featuring Morse hole saws appear on YouTube. 144 In 2016, Milwaukee purchased a

   Morse hole saw from the Essential Hardware website. The hole saw, below, is

   advertised as suitable for cutting wood.




                                                                145




                f.   Ridgid red hole saws

         Milwaukee introduced seven Ridgid tool catalogs, ranging from 1978 to 2004, with

   numerous images showing red wood-cutting hole saws. A representative excerpt from

   the 1978 Ridgid tool catalog is shown below left. 146 Ridgid’s depiction of the red hole

   saw precedes any claimed use by Freud of red on saw blades. Videos featuring Ridgid

   hole saws appear on YouTube. 147 Ridgid hole saws are advertised on the Ridgid

   website and on several other hardware and tool websites, such as Wares Direct and

   PlumbersStock. 148 In 2016, Milwaukee purchased a Ridgid hole saw from the Wares




   143   First Konkel Decl., ¶¶ 154-59, 83 TTABVUE 53-57, Exs. 255-70, 86 TTABVUE 1-57.
   144   Second MT NOR, ¶ 10, 155 TTABVUE 7-8, Ex. 36, 145 TTABVUE 163-64.
   145   First Konkel Decl., ¶¶ 154-59, 83 TTABVUE 53-57, Exs. 271-73, 86 TTABVUE 58-66.
   146   First Griswold Trial Decl., ¶ 35, 103 TTABVUE 19-20, Ex. 75, 105 TTABVUE 28.
   147   Second MT NOR, ¶ 10, 155 TTABVUE 7-8, Ex. 36, 145 TTABVUE 166.
   148   First Konkel Decl., ¶¶ 166-72, 83 TTABVUE 60-63, Exs. 293-301, 86 TTABVUE 144-84.


                                              - 64 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 66 of 90 PageID #: 92

Cancellation Nos. 92059634 and 92059637

   Direct website. The hole saw, below right, is advertised as suitable for cutting

   wood. 149




                g.   Vermont American red hole saws

         In 2017, Vermont American advertised red hole saws, sold as part of lock

   installation kits, shown below, on its website vermontamerican.com.




                                                               150


            8. Third-party red saw blade registrations

         Milwaukee introduced four trademark registrations for marks comprising images

   of red saw blades, two of which are relevant: 151




   149   Id., Ex. 304, 86 TTABVUE 198.
   150   Second MT NOR, ¶ 6, 155 TTABVUE 4-5, Ex. 26, 155 TTABVUE 155.
   151   First MT NOR, ¶ 7, 95 TTABVUE 16, Ex. 21, 97 TTABVUE 390.


                                            - 65 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 67 of 90 PageID #: 93

Cancellation Nos. 92059634 and 92059637


                a.    Registration No. 4231971 152 for the mark




   for Power saw blades being parts of machines, in International Class 7; and


                b.    Registration No. 4270264 153 for the mark




   for Power saw blades being parts of machines, in International Class 7.

         C. Analysis

         Milwaukee’s evidence documents its long use of the color red for saw blades and

   provides more than four dozen examples of prior or current third-party use of red saw

   blades. This evidence establishes that Milwaukee and others have long used the color

   red on a variety of saw blades, including circular saw blades, reciprocating saw

   blades, jigsaw blades, sabre saw blades, and hole saws. In some cases, use of the color

   red on these saw blades predates Freud’s claim of first use of red, either on any saw

   blades or on reciprocating saw blades. This third-party use has not been limited to a

   few manufacturers, rather, dozens of manufacturers, large and small, have used and

   continue to use the color red on a variety of saw blades. As shown above, one

   manufacturer has even registered a depiction of a red saw blade as part of its




   152   Issued October 30, 2012; Section 71 affidavit filed and accepted.
   153   Issued January 8, 2013; Section 71 affidavit filed and accepted.


                                                 - 66 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 68 of 90 PageID #: 94

Cancellation Nos. 92059634 and 92059637

   SCARFMASTER and TUBEMASTER trademarks. This evidence overwhelmingly

   demonstrates that the color red on saw blades is so common in the industry that it

   cannot identify a single source for saw blades for power woodworking machines or

   saw blades for reciprocating power saws. What is more, because the evidence

   establishes that the color red was widely used by others at the time Freud filed the

   underlying applications for each of its subject registrations and third-party use

   continues to the present day, the color red was generic for power saw blades when

   Freud applied for both of its marks and remains so now. Neapco, 12 USPQ2d at 1747;

   Kasco, 27 USPQ2d at 1506 n.7.

      We recognize that this evidence has some limitations: except for Milwaukee’s

   sales, the evidence does not establish the number of red third-party saw blades sold;

   it does not establish the length of time these red saw blades have seen sold; and it

   does not establish the precise degree to which consumers have been exposed to the

   red saw blades. Nevertheless, the evidence establishes that a considerable number of

   third parties advertise or sell red saw blades and that red saw blades of various types

   are widely available to consumers through a variety of sources, such as retail stores,

   tool catalogs, and manufacturer or retail websites. See Rocket Trademarks Pty Ltd.

   v. Phard S.p.A., 98 USPQ2d 1066, 1072 (TTAB 2011) (Internet printouts “on their

   face, show that the public may have been exposed to those internet websites and

   therefore may be aware of the advertisements contained therein”).

      Moreover, the lack of sales numbers for third-party saw blades is not fatal to

   Milwaukee’s case. Milwaukee was able to purchase many of the third-party blades,




                                           - 67 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 69 of 90 PageID #: 95

Cancellation Nos. 92059634 and 92059637

   thereby establishing that they are available to U.S. consumers, particularly over the

   Internet. A finding of genericness does not require assigning numerical values to

   quantify competitive use, so long as the evidence indicates sufficient consumer

   exposure to the goods bearing competitive use of the designation (here, a color) at

   issue. The catalog evidence establishes that many red saw blades were available

   before Freud began using the color red on its saw blades. Given the decades-long

   advertising by Milwaukee and third parties, as shown in Milwaukee’s testimony and

   evidence, we may infer that at least a steady stream of sales has occurred over the

   decades―certainly enough that we can infer significant consumer exposure to the

   color red on saw blades by others.

         We also recognize that Freud’s goods are limited to saw blades for power

   woodworking machines and saw blades for reciprocating power saws, such that the

   registrations Freud holds are evidence of its exclusive right to use the color red on

   only these goods. 15 U.S.C. §§ 1057(b) and 1115(a). Freud therefore argues that much

   of the evidence above should be ignored because jigsaw blades and hole saws are not

   encompassed by Freud’s registrations. 154 We disagree.

         As discussed above, the identification of goods in the ’769 registration clearly

   encompasses jigsaw blades because jigsaws are power woodworking machines and

   jigsaw blades are saw blades. And hole saws are a type of saw blade used with drills

   which also are power woodworking machines. Further, the record shows that it is




   154Freud’s Br., p. 12, 163 TTABVUE 14. We have ignored the evidence regarding hacksaw
   blades because of its limited probative value.


                                            - 68 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 70 of 90 PageID #: 96

Cancellation Nos. 92059634 and 92059637

   common for a manufacturer of saw blades, such as Freud, Milwaukee, and others, to

   offer a wide variety of saw blades, including jigsaw blades and hole saws. Hence, all

   saw blades for use with power tools are relevant to our analysis. See Gen. Mills, 124

   USPQ2d at 1024.

         Freud further argues that Milwaukee’s sales of red saw blades are insufficient to

   establish that the color red is generic for saw blades because Milwaukee stopped

   selling red reciprocating saw blades around 2006 and its sales of jigsaw blades was

   “far too small” after 2011. 155 We do not share Freud’s narrow view of Milwaukee’s

   history of using the color red on saw blades. Milwaukee has used the color red on

   various saw blades since at least the 1950’s, long before Freud began using the color

   red. This long use affects public perception regarding the color’s ability to distinguish

   source and must be taken into account.

         Although Milwaukee provided sales data only from 1990 to 2016, these sales were

   significant by any measure. Before Freud’s first use of red on any saw blades in 1996,

   Milwaukee sold more than a million red reciprocating saw blades, 156 hundreds of

   thousands of red jigsaw blades, 157 and more than a million red hole saws. 158

   Milwaukee sold several hundred thousand additional red reciprocating saw blades

   before changing to white reciprocating blades in 2005. Milwaukee’s sales of red jigsaw

   blades have diminished in recent years, as Freud notes, but sales of the blades



   155   Freud’s Br., p. 14, 163 TTABVUE 16.
   156   First Griswold Trial Decl. ¶ 22, 103 TTABVUE 10.
   157   Id. ¶ 27, 103 TTABVUE 13.
   158   Id. ¶ 33, 103 TTABVUE 17.


                                               - 69 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 71 of 90 PageID #: 97

Cancellation Nos. 92059634 and 92059637

   nevertheless continue to the present. And since 1996, Milwaukee’s sales of red hole

   saws have increased significantly, to several million more units sold.

         In sum, Milwaukee’s sales of its red saw blades, although they have ebbed and

   flowed, began long before Freud’s first use of red on any saw blades in 1996 and

   remain substantial by any measure to the present day. All told, Milwaukee sold well

   over five million reciprocating saw blades, jigsaw blades and hole saws between 1990

   and 2016. Milwaukee’s sales occurred before and during the time that Freud claimed

   that the color red was an indicator of source. These sales were clearly sufficient to

   affect consumer perceptions regarding the ability of the color red to indicate source,

   and therefore, undermine Freud’s claim that red is an indicator of source for its

   blades.

         We find that the presence in the market of red saw blades from numerous

   sources—even saw blades that are not used on woodworking                 machines or

   reciprocating saws—is incompatible with a finding that the “primary significance of

   the registered mark to the relevant public” of the color red is as a source-indicator

   pointing solely to Freud. See 15 U.S.C. § 1064(3). These saw blades, from multiple

   sources, are offered side-by-side in stores, catalogs, and online, and compete directly

   for the same customers. 159 These customers, accustomed to seeing numerous red saw

   blades from different sources, are unlikely to be conditioned to perceive the color red

   as an indicator of a unique source. Rather, they are more likely to view the color red

   simply as eye-catching ornamentation customarily used for saw blades generally. Cf.



   159   See, e.g., 104 TTABVUE 69 and 99, 147 TTABVUE 5.


                                             - 70 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 72 of 90 PageID #: 98

Cancellation Nos. 92059634 and 92059637

   Wal-Mart v. Samara, 54 USPQ2d at 1069 (consumers are aware that product features

   such as color or shape are “intended not to identify the source, but to render the

   product itself more useful or more appealing”).

         Freud argues that its efforts to police the use of the color red on saw blades is

   evidence of its exclusive right to use the color red as a trademark. Freud points to “23

   representative examples of successfully enforcing its Red Marks.” 160 But the majority

   of Freud’s examples involve Freud’s other goods, namely, shaper cutters and router

   bits. In fact, Freud assertedly has enforced its red marks against only a handful of

   purported infringers of Freud’s red circular saws. Of all the red saw blades identified

   above, Freud has taken action regarding only three manufacturers: Hilti, Changheng,

   and JiaBo. Of these, Hilti is manufactured by a sister company likely to acquiesce to

   Freud’s demands. Further, there is no evidence that Freud has enforced its rights to

   red reciprocating saw blades in particular against any third parties. Nor has Freud

   taken action against the two trademark registrations shown above, which include

   depictions of red saw blades.

         Especially given that many competitors contacted by Freud denied Freud’s

   asserted right in the color red for cutting tools, we find that competitors likely

   acquiesced to Freud’s assertion of its exclusive right to use the color red on saw blades

   to avoid litigation. 161 See In re Wella Corp., 565 F.2d 143, 196 USPQ 7 n.2 (CCPA

   1977) (“Appellant argues that various letters (of record) from competitors indicating



   160   Freud’s Br., p. 37, 163 TTABVUE 39.
   161   See, e.g., Brewer Trial Decl., ¶ 17 and related exhibits, 120 TTABVUE 6-11.


                                                - 71 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 73 of 90 PageID #: 99

Cancellation Nos. 92059634 and 92059637

   their discontinuance of use of its mark upon threat of legal action are evidence of its

   distinctiveness, but we agree with the TTAB that such evidence shows a desire of

   competitors to avoid litigation rather than distinctiveness of the mark.”). 162

         Simply put, we find that Freud’s efforts to police the manufacture and sale of red

   saw blades by others does not overcome the reality that consumers have long been,

   and continue to be, exposed to use of the color red on saw blades by multiple entities.

   While it may be that some sub-segment of relevant purchasers comprising more

   knowledgeable consumers (professionals in the building trades) are familiar with the

   use of color on saw blades, we nevertheless find, based on the multitude of third-party

   sources for red saw blades and Freud’s failure to effectively police the use of red on

   saw blades, that this record does not support a finding that consumers with lesser

   degrees of knowledge would or could identify the source of a particular saw blade

   based solely on the color red or otherwise believe it to indicate a single unknown

   source. Stuart Spector Designs, 94 USPQ2d at 1576.

         Freud argues that its sales figures and marketing efforts nevertheless

   demonstrate consumer recognition of the color red as a mark for saw blades,

   notwithstanding use of red by others. 163 Freud’s sales figures show substantial

   success in capturing a share of the saw blade market. Freud also points to extensive




   162 We note that a similar concept applies in patent cases. Cf. In re Affinity Labs of Tex., LLC,
   856 F.3d 883, 901-02, 122 USPQ2d 1497, 1509 (Fed. Cir. 2017) (“[T]he mere fact of licensing
   alone cannot be considered strong evidence of nonobviousness if it cannot also be shown that
   the licensees did so out of respect for the patent rather than to avoid the expense of
   litigation.”) (citation omitted).
   163   Freud’s Br., p. 7, 163 TTABVUE 9.


                                                - 72 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 74 of 90 PageID #: 100

Cancellation Nos. 92059634 and 92059637

   advertising, promotion, in-store displays, and use of social media as evidence that the

   color red is an indicator of source. However, the extensive use of the color red by other

   manufacturers on their saw blades undermines Freud’s ability to establish consumer

   recognition. Indeed, Freud admits that it is only “the predominant seller of red

   circular saw blades and red reciprocating saw blades in the U.S. market.” 164

   (Emphasis added). As established above, Freud was not the only seller of red saw

   blades when it began using the mark and Freud is still not the only seller of red saw

   blades today. The use of red by other saw blade sellers is longstanding and

   widespread. In light of this use by Milwaukee and third parties, Freud’s sales figures

   and marketing efforts, though extensive, cannot demonstrate consumer recognition

   of the color red as a mark for saw blades designating Freud exclusively as their

   source. Cf. Royal Crown, 127 USPQ2d at 1048-49 (in a case involving the genericness

   of a word, the Court held: “To the extent the Board relied on TCCC’s sales and

   advertising figures as part of the genericness inquiry, it erred in doing so. This type

   of evidence may be probative of acquired distinctiveness to the extent it shows that a

   non-generic term has gained recognition with consumers primarily as to the source

   of a product. Sales and advertising figures do not, however, demonstrate that a term

   is not used by the public to refer to the genus of goods in question, or to a sub-group

   thereof.”)

         Freud’s position demonstrates the peril of investing in advertising in the hope of

   seeking a legal return-on-investment in the form of enforceable trade dress rights in



   164   Freud’s Br., p. 7, 163 TTABVUE 9.


                                             - 73 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 75 of 90 PageID #: 101

Cancellation Nos. 92059634 and 92059637

   commonly-used designs or devices. The Court of Appeals for the Federal Circuit, has

   noted the futility of attempting to convert generic indicators to exclusive use:

                While it is always distressing to contemplate a situation in
                which money has been invested in a promotion in the
                mistaken belief that trademark rights of value are being
                created, merchants act at their peril in attempting, by
                advertising, to convert common descriptive names, which
                belong to the public, to their own exclusive use. Even
                though they succeed in the creation of de facto secondary
                meaning, due to lack of competition or other happenstance,
                the law respecting registration will not give it any effect.

   In re Pennington Seed Inc., 466 F.2d 1053, 80 USPQ2d 1758, 1762 (Fed. Cir. 2006)

   (quoting Weiss Noodle Co. v. Golden Cracknel & Specialty Co., 290 F.2d 845, 129

   USPQ 411, 414 (CCPA 1961)). As with those seeking rights in common descriptive

   names, Freud’s attempts to seek exclusive trademark rights in the color red for saw

   blades have not borne fruit in light of the widespread use of the color red on saw

   blades by Milwaukee and others.

      D. Conclusion

      Based upon consideration of all the evidence in the record, including any exhibits

   we have not discussed, we find that Milwaukee has proven its claim that the color

   red is generic as used on “cutting tools for power woodworking machines, namely,

   saw blades” and “blades for reciprocating power saws.” We therefore sustain the

   petition to cancel on grounds of genericness.

           VI. Acquired distinctiveness and the ’314 registration

      In light of the finding that the color red is generic as used on saw blades, the issue

   of whether the color red has acquired distinctiveness for “blades for reciprocating

   power saws” is moot. See, e.g., In re G. D. Searle & Co., 360 F.2d 650, 149 USPQ 619,


                                            - 74 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 76 of 90 PageID #: 102

Cancellation Nos. 92059634 and 92059637

   624 (CCPA 1966) (“Where it appears from the evidence that registrability of the term

   is precluded [due to genericness], inquiry under sections 2(e) and 2(f) is not

   necessary.”)

         In the event, however, that, upon appeal, the color red as applied to saw blades is

   found to be not generic, for the sake of completeness, we address the alternative issue

   of acquired distinctiveness of the mark in the ’314 registration.

         Trademark Act Section 2(f) provides in relevant part:

                    [N]othing in this chapter shall prevent the registration of
                    a mark used by the applicant which has become distinctive
                    of the applicant’s goods in commerce. The Director may
                    accept as prima facie evidence that the mark has become
                    distinctive, as used on or in connection with the applicant’s
                    goods in commerce, proof of substantially exclusive and
                    continuous use thereof as a mark by the applicant in
                    commerce for the five years before the date on which the
                    claim of distinctiveness is made.

         As stated above, single color marks are never inherently distinctive. Wal-Mart v.

   Samara, 54 USPQ2d at 1068. Additionally, by registering the mark in the ’314

   Registration under Trademark Act Section 2(f), 15 U.S.C. § 1052(f), Freud conceded

   that the applied-for mark is not inherently distinctive. 165 See Royal Crown, 127

   USPQ2d at 1044-45 (“At the outset, because TCCC seeks registration of its ZERO-

   containing marks under Section 2(f) of the Lanham Act, TCCC has conceded that

   ZERO is not inherently distinctive in association with the genus of goods at issue—

   soft drinks, energy drinks, and sports drinks.”).




   165   Serial No. 85236666, Response to Office Action dated May 19, 2011.


                                                - 75 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 77 of 90 PageID #: 103

Cancellation Nos. 92059634 and 92059637

      The presumption of validity that attaches to a registration issued pursuant to

   Section 2(f) includes a presumption that the registered mark has acquired

   distinctiveness. To rebut this presumption, a party seeking to cancel such a

   registration must produce sufficient evidence for the Board to conclude, in view of the

   entire record in the cancellation proceeding, that the party has rebutted the mark’s

   presumption of acquired distinctiveness by a preponderance of the evidence. Cold

   War Museum Inc. v. Cold War Air Museum Inc., 586 F.3d 1352, 92 USPQ2d 1626,

   1630 (Fed. Cir. 2009). As more fully explained by the Court of Appeals for the Federal

   Circuit:

                 In a Section 2(f) case, the party seeking cancellation bears
                 the initial burden to “establish a prima facie case of no
                 acquired distinctiveness.” To satisfy this initial burden, the
                 party seeking cancellation must “present sufficient
                 evidence or argument on which the board could reasonably
                 conclude” that the party has overcome the record evidence
                 of acquired distinctiveness—which includes everything
                 submitted by the applicant during prosecution. The burden
                 of producing additional evidence or argument in defense of
                 registration only shifts to the registrant if and when the
                 party seeking cancellation establishes a prima facie
                 showing of invalidity. The Board must then decide whether
                 the party seeking cancellation has satisfied its ultimate
                 burden of persuasion, based on all the evidence made of
                 record during prosecution and any additional evidence
                 introduced in the cancellation proceeding.

   Id. (citations omitted).

      Furthermore, Freud’s reliance on the ’769 registration does not preclude

   Milwaukee from establishing that the mark is so non-distinctive (i.e., common) that

   a prior registration for the same mark for similar goods is insufficient to establish

   acquired distinctiveness. See Alcatraz Media Inc. v. Chesapeake Marine Tours Inc.,



                                             - 76 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 78 of 90 PageID #: 104

Cancellation Nos. 92059634 and 92059637

   107 USPQ2d 1750, 1765 (TTAB 2013), aff’d mem., 565 F. App’x 900 (Fed. Cir. 2014).

   See also Trademark Rule 2.41(a)(1), 37 C.F.R. § 2.41(a)(1) (notwithstanding

   ownership of a registration for the same mark for similar goods, “further evidence

   may be required”). And in a cancellation proceeding, acquired distinctiveness may be

   determined at the time of registration or trial. Neapco, 12 USPQ2d at 1747; see also

   Kasco, 27 USPQ2d at 1506 n.7. As the Board stated in Neapco, “[i]n most cases, the

   time period of primary concern is the time when the registration issued.” 12 USPQ2d

   at 1747.

      The burden of proving that a color mark has acquired distinctiveness is

   substantial. See In re Owens-Corning Fiberglas Corp., 774 F.2d 1116, 227 USPQ 417,

   424 (Fed. Cir. 1985) (“By their nature color marks carry a difficult burden in

   demonstrating distinctiveness and trademark character.”); see also Wal-Mart Stores,

   Inc. v. Samara Bros., Inc., 529 U.S. 205, 54 USPQ2d 1065, 1069 (2000) (“In the case

   of product design, as in the case of color, we think consumer predisposition to equate

   the feature with the source does not exist.”). Freud based its original claim of acquired

   distinctiveness on ownership of a prior registration for the color red as used on cutting

   tools and did not submit any actual evidence of acquired distinctiveness such as

   advertising expenditures, volume of sales under the mark, or consumer surveys. In

   addition, as noted earlier, during prosecution Freud responded to the Examining

   Attorney’s information request regarding the use of color in the industry by stating

   that to its knowledge, it was the only member of the woodworking industry that




                                            - 77 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 79 of 90 PageID #: 105

Cancellation Nos. 92059634 and 92059637

   produced saw blades, router bits, and like woodworking tools bearing the color red,

   which indicates that Freud relied as well on a claim of exclusive use.

      In this proceeding, however, Milwaukee introduced approximately twenty

   examples of third parties using the color red on reciprocating power saw blades going

   as far back as the 1950’s, meaning that Freud’s use was not “substantially exclusive”

   within the meaning of Section 2(f) at the time of registration. See Sheetz of Del., Inc.

   v. Doctor’s Assocs. Inc., 108 USPQ2d 1341, 1370 (TTAB 2012) (“In this case, the

   widespread use of ‘Footlong’ demonstrated by this record would itself be sufficient to

   dispose of applicant’s claim of acquired distinctiveness”). Given the difficult burden

   of establishing acquired distinctiveness of a single color and the extensive evidence

   regarding the large number of red reciprocating saw blades available to consumers,

   we find Milwaukee has rebutted the ’314 registration’s presumption of validity and

   established that the color red for reciprocating saw blades had not acquired

   distinctiveness at the time of registration. See Cold War Museum, 92 USPQ2d at

   1629.

      The burden of producing additional evidence or argument in defense of the

   registration thus shifts to Freud to defend its registration. Id. at 1630. In light of the

   nature of the mark and Milwaukee’s evidence of lack of exclusivity, it is our view that

   Freud’s rebuttal evidence must be powerful. Owens-Corning Fiberglas, 227 USPQ at

   424; Saint-Gobain, 90 USPQ2d at 1434 (“[W]here ‘the use of colors is common in a

   field, an applicant has a difficult burden in demonstrating distinctiveness of its




                                             - 78 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 80 of 90 PageID #: 106

Cancellation Nos. 92059634 and 92059637

   claimed color.’”) (quoting In re Howard S. Leight and Assocs. Inc., 39 USPQ2d 1058,

   1060 (TTAB 1996)).

      “To show that a mark has acquired distinctiveness, an applicant must

   demonstrate that the relevant public understands the primary significance of the

   mark as identifying the source of a product or service rather than the product or

   service itself.” In re Steelbuilding.com, 415 F.3d 1293, 75 USPQ2d 1420, 1422 (Fed.

   Cir. 2005); see also Coach Servs. Inc. v. Triumph Learning LLC, 668 F.3d 1356, 101

   USPQ2d 1713, 1729 (Fed. Cir. 2012). Our ultimate Section 2(f) analysis and

   determination in this case is based on all of the evidence considered as a whole:

                [T]he considerations to be assessed in determining whether
                a mark has acquired secondary meaning can be described
                by the following six factors: (1) association of the [mark]
                with a particular source by actual purchasers (typically
                measured by customer surveys); (2) length, degree, and
                exclusivity of use; (3) amount and manner of advertising;
                (4) amount of sales and number of customers; (5)
                intentional copying; and (6) unsolicited media coverage of
                the product embodying the mark.

   In re Snowizard, Inc., 129 USPQ2d 1001, 1105 (TTAB 2018) (quoting Converse, Inc.

   v. Int’l Trade Comm’n, 907 F.3d 1361, 128 USPQ2d 1538, 1546 (Fed. Cir. 2018)); see

   also Steelbuilding.com, 75 USPQ2d at 1424; Cicena Ltd. v. Columbia Telecomms.

   Grp., 900 F.2d 1546, 14 USPQ2d 1401, 1406 (Fed. Cir. 1990). On this list, no single

   factor is determinative. In re Tires, Tires, Tires Inc., 94 USPQ2d 1153, 1157 (TTAB

   2009). Acquired distinctiveness may be shown by direct or circumstantial evidence.

   Direct evidence of acquired distinctiveness includes actual testimony, declarations or

   surveys of consumers as to their state of mind (e.g., factor 1). Circumstantial evidence,

   on the other hand, is evidence from which consumer association might be inferred,


                                            - 79 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 81 of 90 PageID #: 107

Cancellation Nos. 92059634 and 92059637

   such as years of use, extensive sales and advertising, and any similar evidence

   showing wide exposure of the mark to consumers (e.g., factors 2 through 6). In re

   Ennco Display Sys. Inc., 56 USPQ2d 1279, 1283 (TTAB 2000).

         Freud did not present a survey purporting to measure consumer association.

   Rather, Freud seeks to rebut Milwaukee’s showing with circumstantial evidence

   establishing sales success and extensive advertising expenditures. From August 2009

   through 2016, Freud sold an impressive number of reciprocating saw blades,

   numbering in the millions each year. 166 Freud has spent hundreds of thousands of

   dollars each year since 2009 advertising its cutting tools. 167 Although Freud does not

   break out advertising of reciprocating saw blades from its other cutting tools, the total

   advertising      expenditures    are   nevertheless     substantial.   Some   of   Freud’s

   advertisements emphasize the color red for reciprocating blades or otherwise

   prominently identify the color red as a trademark:




   166   Brewer Trial Decl. ¶ 14, 132 TTABVUE 6.
   167   Kohl Trial Decl., ¶ 13, 131 TTABVUE 8.


                                                  - 80 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 82 of 90 PageID #: 108

Cancellation Nos. 92059634 and 92059637




                                                                 168


         Freud claims that its use of the color red on reciprocating blades has been

   substantially exclusive for over eight years. 169 There are several problems with

   Freud’s claim of exclusivity, however. First, in making this statement, Freud

   discounts red blades made by no fewer than twelve other manufacturers because the

   companies are “minor players in the industry” and unknown to Freud. 170 Although

   we do not have information regarding the relative sales of these red reciprocating

   blades, there can be no doubt that consumers have been exposed to them in varying

   degrees, particularly online. Second, Freud’s claim ignores the impact of certain types




   168   Kohl Trial Decl., Ex. 22, 110 TTABVUE 12.
   169   Freud’s Br., p. 44, 163 TTABVUE 46.
   170   Freud’s Br., p. 45, 163 TTABVUE 47.


                                               - 81 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 83 of 90 PageID #: 109

Cancellation Nos. 92059634 and 92059637

   of red saw blades on consumer perception. As discussed above, all red saw blades are

   relevant to shaping consumer perception. See Gen. Mills, 124 USPQ2d at 1024.

      Last, Freud ignores the state of the marketplace when Freud first began using red

   on reciprocating saw blades in 2009. Milwaukee submitted extensive evidence that it

   had been selling red reciprocating saw blades for more than 50 years before Freud’s

   first use. Milwaukee also submitted numerous catalogs showing use of red

   reciprocating saw blades by others including Bosch, Makita, Irwin, and Craftsman,

   long before Freud’s first use. These uses by others of the color red establish that

   consumers were accustomed to seeing red reciprocating blades from a variety of

   manufacturers long before Freud entered the market. The earlier use of red on

   reciprocating blades, coupled with continued use of the color red by others, even

   smaller manufacturers, undercuts Freud’s evidence that its mark has acquired

   distinctiveness.

      Milwaukee’s evidence showing use of the color red on saw blades by it and third

   parties is probative to establish that Freud’s use of the color red on reciprocating saw

   blades has not been substantially exclusive either at the time of registration or

   thereafter. See Levi Strauss & Co. v. Genesco, Inc., 742 F.2d 1401, 222 USPQ 939,

   940-41 (Fed. Cir. 1984) (“When the record shows that purchasers are confronted with

   more than one (let alone numerous) independent users of a term or device, an

   application for registration under Section 2(f) cannot be successful, for distinctiveness

   on which purchasers may rely is lacking under such circumstances.”). Contrary to

   Freud’s arguments, we find Levi Strauss to be relevant authority. Freud argues that




                                            - 82 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 84 of 90 PageID #: 110

Cancellation Nos. 92059634 and 92059637

   the case is inapposite because its witnesses have denied any third-party use of the

   claimed mark, whereas, in Levi Strauss, Levi’s corporate officers, licensees and

   internal documents admitted to third-party use. We do not find this difference

   sufficient to distinguish the case. The point of Levi Strauss was the persuasiveness of

   the evidence of third-party use, not the fact that Levi Strauss did not contest third-

   party use. Here, the evidence overwhelmingly establishes that third parties used the

   mark both “before and after” Freud’s claimed first use. We therefore find that Freud

   has not proved acquired distinctiveness. Id. at 940; Quaker State Oil Refining Corp.

   v. Quaker Oil Corp., 453 F.2d 1296, 172 USPQ 361, 363 (CCPA 1972) (evidence

   insufficient to establish distinctiveness due to significant and continuous concurrent

   use of term by competitor such that applicant’s use was not substantially exclusive).

      Based on our review of the evidence in its entirety, and in the absence of more

   direct evidence of consumer perceptions, we find Freud has failed to meet its burden

   of proving that consumers          seeking   reciprocating     saw    blades    would

   understand the primary significance of the color red alone as identifying Freud’s

   reciprocating saw blades and, therefore, it has not acquired distinctiveness, either at

   the time of registration or now.

                                      VII. Fraud

      Milwaukee alleges that Freud committed fraud in the prosecution of the

   trademark application underlying the ’769 registration in four ways: Freud’s

   declaration of exclusivity was fraudulent because Freud knew of use of the color red

   by others; Freud’s response to the request for information was fraudulently deficient;

   Freud’s dates of use were fraudulent because Freud did not specify the dates of use

                                           - 83 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 85 of 90 PageID #: 111

Cancellation Nos. 92059634 and 92059637

   for each individual item; and Freud’s claim of acquired distinctiveness was fraudulent

   because Freud’s evidence supporting the claim did not apply to all of the goods.

      Fraud in procuring a trademark registration occurs when an applicant, with the

   intent to deceive the USPTO, knowingly makes false material representations of fact

   in connection with its application. In re Bose Corp., 580 F.3d 1240, 91 USPQ2d 1938,

   1941 (Fed. Cir. 2009). The standard for finding intent to deceive is stricter than the

   standard for negligence or gross negligence, and evidence of deceptive intent must be

   clear and convincing. Id.

      Regarding Freud’s declaration filed with the application, Milwaukee argues that

   Freud’s knowledge of SystiMatic’s use of the color red on saw blades makes

   fraudulent Freud’s declaration that “no other person has the right to use such mark

   in commerce either in the identical form thereof or in such near resemblance

   thereto. . . .” 15 U.S.C. § 1051. The Board has held that “the allegations of ownership

   and exclusive use contained in the declaration or verification accompanying an

   application are made upon ‘belief’ and/or ‘information and belief’ and, as such, are

   couched in such a manner as to preclude a definitive statement by the affiant that

   could be ordinarily used to support a charge of fraud.” Kemin Indus., Inc. v. Watkins

   Prods., Inc., 192 USPQ 327, 329 (TTAB 1976); see also Am. Sec. Bank v. Am. Sec. &

   Trust Co., 571 F.2d 564, 197 USPQ 65, 67 (CCPA 1978) (“Appellant misreads the

   cited statute and rules. They require the statement of beliefs about exclusive rights,

   not their actual possession. Appellant has produced no evidence impugning appellee's

   beliefs.”). Milwaukee argues that Freud’s 1998 agreement with SystiMatic to




                                           - 84 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 86 of 90 PageID #: 112

Cancellation Nos. 92059634 and 92059637

   discontinue advertisements referencing Freud’s red saw blades is evidence that

   Freud knew it did not have superior rights in the mark. 171 We disagree. As with

   Freud’s enforcement efforts against third parties, discussed above, Freud maintained

   its assertion of rights in the color red since its first use in 1988, and may have

   acquiesced to SystiMatic’s request merely to avoid litigation. See In re Wella Corp.,

   196 USPQ at 7 n.2. Here, we do not have evidence that, as of the date the declaration

   was signed, Freud knew that SystiMatic’s right to use the color red as a trademark

   was superior or clearly established, e.g., by court decree or prior agreement of the

   parties. Freud thus may have had a reasonable basis for believing that no one else

   had the right to use the mark in commerce, and its averment of that reasonable belief

   in its application declaration or oath was not fraudulent. Intellimedia Sports Inc. v.

   Intellimedia Corp., 43 USPQ2d 1203, 1207 (TTAB 1997).

         Regarding Freud’s response to the Examining Attorney’s information request

   about competitors’ use of the color red, we have no doubt that Freud’s cursory

   response to the request was woefully lacking. No explanation regarding the use of

   color in the industry was provided. Instead, Freud simply provided a few third-party

   advertisements showing use of color on tools and cutting blades. That said, Freud’s

   response did include a copy of SystiMatic’s advertisement showing its red circular

   saw blade. Although Freud’s response was deficient because it appears to have only

   superficially addressed the Examining Attorney’s request for information, we think

   that, on this record, there is not enough to persuade us that Freud’s failure to



   171   Brewer SJ Decl., Ex. 7, 149 TTABVUE 36.


                                              - 85 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 87 of 90 PageID #: 113

Cancellation Nos. 92059634 and 92059637

   thoroughly document the use of color by competitors rose to the level of fraud. Freud’s

   response stated that it provided “[c]opies of competitors [sic] products which have

   color, to the extent [it] has such copies.” 172 A trademark applicant has no duty to

   investigate third-party uses. Maids to Order of Ohio Inc. v. Maid-to-Order Inc., 78

   USPQ2d 1899, 1909 (TTAB 2006) (citations omitted). As with Freud’s declaration

   above, Freud’s failure to explain to the USPTO the uses by other entities is not

   fraudulent unless Freud knew the other entities using substantially the same mark

   for substantially identical goods had superior rights (assuming red could serve as a

   source identifier for saw blades) to Freud. See Intellimedia Sports, 43 USPQ2d at

   1206. We do not find that Milwaukee has proven by clear and convincing evidence

   that Freud possessed such knowledge.

         Regarding Freud’s dates of use, Milwaukee argues that Freud’s failure to indicate

   the dates of use for each item identified in the application constitutes fraud. 173

   Milwaukee does not allege that the registered mark was not in use on all of the goods

   at the time of filing; and there is no evidence that the registered mark was not in use

   prior to the filing of the underlying application. The Board has held that if a mark

   was in use at the time an application is filed, an incorrect date of first use is not fraud.

   See W. Worldwide Enters. Grp. Inc. v. Qinqdao Brewery, 17 USPQ2d 1137, 1141

   (TTAB 1990) (“The Board repeatedly has held that the fact that a party has set forth

   an erroneous date of first use does not constitute fraud unless, inter alia, there was



   172   Ruggiero Decl., p. 2, Freud’s response to Office action dated February 27, 1998.
   173   Milwaukee’s Br., p. 47, 158 TTABVUE 48.


                                                 - 86 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 88 of 90 PageID #: 114

Cancellation Nos. 92059634 and 92059637

   no valid use of the mark until after the filing of the application.”). Here, Freud’s

   failure to indicate the dates of use for each item identified in the application is, at

   worst, akin to stating an erroneous date of first use, and does not constitute fraud.

         Regarding Freud’s claim of acquired distinctiveness, Milwaukee argues that the

   claim was fraudulent because Freud’s statements and evidence related primarily to

   shaper cutters and not to saw blades. 174 That is, since Freud only began using the

   color red on saw blades shortly before the filing date of the application, Freud’s

   advertising costs and sales revenues going back four years did not apply to saw blades

   and were “indisputably false” and “intentionally misleading.” 175 For its part, Freud

   argues that the advertising and sales number are accurate because Freud grouped

   all of its cutting tool products together. Freud also argues that, in any event, there is

   no evidence that it intended to defraud or deceive the USPTO. 176

         Even if we accept Milwaukee’s argument that Freud improperly referred to its

   goods collectively as “the products” when it relied on all of the sales and advertising

   figures, Milwaukee has no support for the alleged requisite intent to deceive the

   USPTO. “Intent can be inferred from indirect and circumstantial evidence. But such

   evidence must still be clear and convincing, and inferences drawn from lesser

   evidence cannot satisfy the deceptive intent requirement.” Bose, 91 USPQ2d at 1941.

   Here, we do not find Freud’s failure to break out the showing of acquired




   174   Id. at 49, 158 TTABVUE 50.
   175   Id.
   176   Freud’s Br., p. 54, 163 TTABVUE 56.


                                               - 87 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 89 of 90 PageID #: 115

Cancellation Nos. 92059634 and 92059637

   distinctiveness by individual product to be clear and convincing evidence that it

   intended to defraud the USPTO. “[A]bsent the requisite intent to mislead the PTO,

   even a material misrepresentation would not qualify as fraud under the Lanham Act

   warranting cancellation.” Id. at 1940. See M.C.I. Foods Inc. v. Bunte, 96 USPQ2d

   1544, 1549 (TTAB 2010) (“[w]e will not draw an inference that [a party] acted with

   the intent to deceive the Trademark Office without some factual basis for drawing

   such an inference.”).

         For the foregoing reasons, we find that Milwaukee has not proved that the ’769

   registration was obtained through fraud on the USPTO.

                 VIII. Freud’s motion to amend its registration.

         Freud moved to amend the ’769 registration to narrow the scope of the saw blades

   by adding the language “excluding reciprocating saw blades and jigsaw blades.” 177

   The proposed amended identification of goods would thus read: Cutting tools for

   power woodworking machines, namely shaper cutters, saw blades excluding

   reciprocating saw blades and jigsaw blades, router bits and forestner bits.

   Consideration of the motion was deferred until final hearing. 178

         In light of the finding that the color red is generic as to saw blades, and because

   the amendment does not exclude other types of saw blades that are commonly colored

   red by competitors, namely, non-wood-cutting circular saw blades that can be used




   177   21 TTABVUE.
   178   25 TTABVUE.


                                              - 88 -
   Case 1:20-cv-00902-RGA Document 1-2 Filed 02/03/20 Page 90 of 90 PageID #: 116

Cancellation Nos. 92059634 and 92059637

   on power woodworking machines, sabre saw blades, and hole saws, among others, the

   amendment is denied.

      Decision: The petitions to cancel are granted on the bases explained above. The

   identification of goods in Registration No. 2464769 is amended to read: “cutting tools

   for power woodworking machines, namely, shaper cutters, [saw blades,] router bits

   and forestner bits” in International Class 7. Registration No. 4028314 is cancelled.




                                           - 89 -
